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     Co-Counsel to the Debtors and
     Debtors in Possession


                                     UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF NEW JERSEY


 In re:                                                        Chapter 11

 RITE AID CORPORATION, et al.,                                 Case No. 23-18993 (MBK)

                                      Debtors.1                (Jointly Administered)



                            NOTICE OF ADDITIONAL CLOSING STORES

            PLEASE TAKE NOTICE OF THE FOLLOWING:

            On January 29, 2024, the United States Bankruptcy Court for the District of New Jersey

 (the “Court”) entered the Amended Final Order (I) Authorizing and Approving the Conduct of

 Store Closing Sales, With Such Sales to Be Free and Clear of All Liens, Claims, Encumbrances




 1     The last four digits of Debtor Rite Aid Corporation’s tax identification number are 4034. A complete list of the
       Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
       website of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid. The location of
       Debtor Rite Aid Corporation’s principal place of business and the Debtors’ service address in these chapter 11
       cases is 1200 Intrepid Avenue, 2nd Floor, Philadelphia, Pennsylvania 19112.
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 and (II) Granting Related Relief [Docket No. 1648] (the “Amended Final Store Closing Order”)2

 authorizing and approving the conduct of store closings and related sales in accordance with certain

 store closing sale guidelines and granting related relief. A copy of the Amended Final Store

 Closing Order, including the Sale Guidelines, is attached hereto as Exhibit 2.

         Pursuant to the Amended Final Store Closing Order and by this written notice

 (this “Notice”), the Debtors hereby notify you that they have determined, in the exercise of their

 business judgment, that each store location listed in Exhibit 1 attached hereto shall be an

 Additional Closing Store.

         Parties seeking to object to the application of the Amended Final Store Closing Order to

 any of the store locations set forth on Exhibit 1 must file and serve a written objection so that such

 objection is filed with the Court on the docket of the Debtors’ chapter 11 cases and is

 actually received by the Debtors and their counsel no later than June 16, 2024 (the date that is ten

 days after the date that the Debtors served this Notice), and the Debtors shall cause the

 applicable Dispute Notice Parties and other notice parties to be served. Only those responses

 that are timely filed, served, and received will be considered at any hearing.

         If an objection to the application of the Amended Final Store Closing Order to any of the

 store locations set forth on Exhibit 1 is timely filed and not withdrawn or resolved, such objection

 will be considered at the next regularly scheduled omnibus hearing, subject to the rights of any

 party to seek relief on an emergency basis or shortened notice.


                               [Remainder of page intentionally left blank]




 2   Capitalized terms used but not defined herein have the meanings ascribed to them in the Amended Final Store
     Closing Order.



                                                       2
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Dated: June 6, 2024
                                       /s/ Michael D. Sirota
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                                       Co-Counsel to the Debtors and
                                       Debtors in Possession
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                                     Exhibit 1

                             Additional Closing Stores
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No.       Store No.            Property Address                   City        State        Zip Code
      1          4937 334 WEST PERKINS AVENUE              SANDUSKY      OH             44870
      2          2355 105 WEST AIRPORT HIGHWAY             SWANTON       OH             43558




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                                    Exhibit 2

                        Amended Final Store Closing Order
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     Caption in Compliance with D.N.J. LBR 9004-1(b)


         UNITED STATES BANKRUPTCY COURT
         DISTRICT OF NEW JERSEY                                                        Order Filed on January 29, 2024
                                                                                       by Clerk
                                                                                       U.S. Bankruptcy Court
         In re:                                                             Chapter 11 District of New Jersey

         RITE AID CORPORATION, et al.,                                      Case No. 23-18993 (MBK)

                                            Debtors.1                       (Jointly Administered)


                                AMENDED FINAL ORDER
                (I) AUTHORIZING AND APPROVING THE CONDUCT OF STORE
            CLOSING SALES, WITH SUCH SALES TO BE FREE AND CLEAR OF ALL
         LIENS, CLAIMS, AND ENCUMBRANCES AND (II) GRANTING RELATED RELIEF

     The relief set forth on the following pages, numbered three (3) through thirty-six (36), is
     ORDERED.




DATED: January 29, 2024



     1
            The last four digits of Debtor Rite Aid Corporation’s tax identification number are 4034. A complete list of the
            Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
            website of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid. The location of
            Debtor Rite Aid Corporation’s principal place of business and the Debtors’ service address in these chapter 11
            cases is 1200 Intrepid Avenue, 2nd Floor, Philadelphia, Pennsylvania 19112.
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 Caption in Compliance with D.N.J. LBR 9004-1(b)
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                          and Encumbrances and (II) Granting Related Relief

         Upon the motion (the “Motion”) of the above-captioned debtors and debtors in possession

 (collectively, the “Debtors”) for entry of an amended version of the final order entered at

 Docket No. 709 (such motion, the “Motion,” and such amended order, this “Final Order”):

 (a) authorizing, but not directing, the Debtors to enter into and perform under that certain

 consulting agreement among the Debtors, SB360 Capital Partners, LLC (“SB360”), and

 Hilco Merchant Resources, LLC (“Hilco,” and together with SB360, the “Consultants”) attached

 hereto as Schedule 1 (as may be modified from time to time in accordance with its terms,

 the “Consulting Agreement”);1 (b) authorizing and approving the continuation or initiation of store

 closing or similar themed sales (the “Initial Store Closings”) at the stores identified on Schedule 2

 attached hereto (collectively, the “Initial Closing Stores”); (c) authorizing and approving the

 Debtors to conduct store closings at additional stores (the “Additional Store Closings” and,

 together with the Initial Store Closings, the “Store Closings”) at a later date or dates pursuant to

 the procedures set forth herein (collectively, the “Additional Closing Stores,” and together with

 the Initial Closing Stores, the “Closing Stores”) with such sales to be free and clear of

 all liens, claims, and      encumbrances       (the “Sales”), in      accordance      with the      terms    of

 the store closing sale guidelines      attached     as   Schedule 3       hereto    (the “Sale Guidelines”);

 (d) authorizing and approving the Debtors’ payment and reimbursement of Fees and Expenses

 (as defined in the Consulting Agreement) to the Consultants in accordance with the provisions of

 the Consulting Agreement; (e) authorizing and approving the inclusion of Additional Consultant



 1
     Capitalized terms used but not defined herein have the meanings ascribed to them in the Consulting Agreement
     or the Motion, as applicable.
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 Goods (as defined in the Consulting Agreement) in the Sales at the Closing Stores in accordance

 with the Consulting Agreement; and (f) granting related relief, all as more fully set forth in the

 Motion; and upon the First Day Declaration, the Liebman Declaration, and the Frejka Declaration;

 and the Court having jurisdiction to consider the Motion and the relief requested therein pursuant

 to 28 U.S.C. §§ 157 and 1334 and the Standing Order of Reference to the Bankruptcy Court Under

 Title 11 of the United States District Court for the District of New Jersey, entered July 23, 1984,

 and amended on September 18, 2012 (Simandle, C.J.); and this Court having found that venue of

 this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409;

 and this Court having found that the Debtors’ notice of the Motion was appropriate under the

 circumstances and no other notice need be provided; and this Court having reviewed the Motion

 and having heard the statements in support of the relief requested therein at a hearing (if any)

 before this Court (the “Hearing”); and this Court having determined that the legal and factual bases

 set forth in the Motion establish just cause for the relief granted herein; and upon all of the

 proceedings had before the Court and after due deliberation and sufficient cause appearing therefor

 IT IS HEREBY FOUND AND DETERMINED THAT:2

         A.       The Debtors have advanced sound business reasons for entering into and

 performing under the Consulting Agreement and adopting the Sale Guidelines as set forth in the

 Motion and at the Hearing (if any), and the Debtors’ entry into and performance under the




 2
     Findings of fact shall be construed as conclusions of law and conclusions of law shall be construed as findings of
     fact where appropriate. See Fed. R. Bankr. P. 7052.
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 Consulting Agreement are reasonable exercises of the Debtors’ business judgement and in the best

 interest of the Debtors and their estates.

        B.      The Debtors and the Consultants negotiated and entered into the Consulting

 Agreement in good faith and on an arm’s-length basis.

        C.      The Sale Guidelines, which are attached hereto as Schedule 3, are reasonable and

 appropriate, and the conduct of the Sales in accordance with the Sale Guidelines will provide an

 efficient means for the disposition of the Closing Store Assets, and are in the best interest of the

 Debtors’ estates.

        D.      The Debtors have demonstrated good, sufficient and sound business purposes and

 justifications for the relief approved herein.

        E.      The Store Closings and Sales are in the best interest of the Debtors’ estates.

        F.      The Dispute Resolution Procedures are fair and reasonable and comply with

 applicable law.

        G.      The entry of this Final Order is in the best interests of the Debtors and their estates;

 and now therefore it is HEREBY ORDERED THAT:

        1.      The Motion is GRANTED on a final basis as set forth herein.

        2.      To the extent of any conflict between this Final Order, the Consulting Agreement,

 or the Sale Guidelines: (a) the Sale Guidelines shall control over the Consulting Agreement; and

 (b) the terms of this Final Order shall control over the Consulting Agreement and Sale Guidelines.

 To the extent of any conflict between this Final Order, the Sale Guidelines, the Consulting

 Agreement, and a Side Letter (as defined herein), subject to paragraph 33 hereof, the terms of the
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 Side Letter shall control as between the Debtors and the applicable landlord(s); and the terms of

 this Final Order shall control as to all other matters, except that the Consulting Agreement shall

 control as to the Consultants’ authority to enter into any Side Letter.

 I.     Authority to Enter into the Consulting Agreement.

        3.      The Debtors’ entry into and performance under the Consulting Agreement is

 approved in all respects. The Debtors are authorized to enter into and perform under the

 Consulting Agreement pursuant to sections 363 of the Bankruptcy Code, including by: (a) making

 payments required by the Consulting Agreement to the Consultants without the need for any

 application of the Consultants or a further order of the Court; and (b) accepting delivery of

 Additional Consultant Goods to Closing Stores, offering Additional Consultant Goods for sale at

 Closing Stores on a consignment basis, and remitting proceeds from sales of Additional Consultant

 Goods, in each case, as provided in the Consulting Agreement. The Consultants’ Fees and

 Expenses shall be paid in accordance with the provisions of the Consulting Agreement. Such

 payment of Consultants’ Fees and Expenses shall be deemed to be (a) in compliance with the

 Approved Budget (as defined in Docket No. 1159 (the “Final DIP Order”)) and the applicable

 provisions of the Final DIP Order; and (b) included in each such Approved Budget.

        4.      Subject to the terms and conditions set forth in this Final Order and the applicable

 provisions of the Final DIP Order and the DIP Documents (as defined in the Final DIP Order), the

 Debtors and the Consultants are hereby authorized to take any and all actions as may be necessary

 or desirable to implement the Consulting Agreement and each of the transactions contemplated
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 thereby (including conducting the Group 2 Sales and Group 3 Sales), and any and all such actions

 are hereby approved in all respects.

        5.      The Debtors and the Consultants may modify the Consulting Agreement in

 accordance with the terms thereof without further order of the Court; provided that (a) the Debtors

 shall provide two business days’ advance notice of any contemplated material modification(s) of

 Consulting Agreement (including any modification of the Consulting Agreement’s economic terms)

 to the U.S. Trustee, counsel to the DIP Agents, counsel to the Ad Hoc Secured Noteholder Group,

 counsel to the Official Committee of Unsecured Creditors, counsel to the Official

 Committee of Tort Claimants, and counsel to any party that has requested such notice

 (collectively, the “Amendment Notice Parties”); and (b) the Debtors’ modification of the

 Consulting Agreement shall be subject to the applicable provisions of the DIP Documents

 (as defined in the Final DIP Order). If an Amendment Notice Party timely objects to a proposed

 material modification to the Consulting Agreement and the Debtors, the Consultants, and such

 objecting Amendment Notice Party cannot consensually resolve such objection, the Debtors and

 the Consultants shall not proceed with such modification absent a further order of the Court

 approving such modification.

        6.      Notwithstanding anything to the contrary in the Consulting Agreement, the Debtors

 and their estates shall not indemnify the Consultants for any damages or losses arising out of any

 fraud, willful misconduct, gross negligence, or breach of the Consulting Agreement by the

 Consultants.
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 II.    Authority to Engage in Sales and Conduct Store Closings.

        7.      The Debtors are authorized, pursuant to sections 105(a) and 363(b)(1) of the

 Bankruptcy Code, to continue, commence, and conduct Sales and Store Closings at the

 Closing Stores in accordance with this Final Order and the Sale Guidelines, as may be modified

 by any Side Letters (as defined below) between the Debtors and the landlords at the Closing Stores.

 The Consultants are authorized to commence and conduct Sales and Store Closings at the Closing

 Stores in accordance with this Final Order, the Consulting Agreement, and the Sale Guidelines, as

 may be modified by any Side Letters between the Debtors and the landlords at the Closing Stores

 or between the Consultants and such landlords, as applicable.

        8.      The Sale Guidelines are approved in their entirety on a final basis.

        9.      The Debtors are authorized to discontinue operations at the Closing Stores in

 accordance with this Final Order and the Sale Guidelines.

        10.     All entities that are presently in possession of some or all of the Closing Store

 Assets in which the Debtors hold an interest that is or may be subject to this Final Order

 are hereby directed to surrender possession of such Closing Store Assets to the Debtors

 (or to the Consultants, on behalf of the Debtors, if applicable).

        11.     Neither the Debtors nor the Consultants nor any of their officers, employees, or

 agents shall be required to obtain the approval of any third party, including (without limitation)

 any Governmental Unit (as defined under section 101(27) of the Bankruptcy Code) or landlord, to

 conduct the Sales and Store Closings and to take the related actions authorized herein.
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        12.     The Debtors are authorized to conduct Sales and internal transfers of Prescription

 Assets consistent with their historical practice in any size, amount, or volume, in accordance with

 applicable law, and all such Sales and internal transfers are hereby approved. For the avoidance

 of doubt, the Debtors are authorized to enter into and consummate such Sales of Prescription

 Assets on the terms and conditions, including any non-monetary terms and conditions, set forth in

 any agreements or other documents applicable to such Sales (including any asset purchase

 agreements), which terms and conditions are hereby approved. Each purchaser of Prescription

 Assets sold pursuant to this Final Order shall be deemed a good faith purchaser within the meaning

 of section 363(m) of the Bankruptcy Code and, as such, shall be entitled all of the protections

 afforded by such provision. Nothing in this Final Order authorizes the Consultants to sell or

 otherwise dispose of any Prescription Assets, and the Consultants shall not conduct any Sales of

 any Prescription Assets.

        13.     For the avoidance of doubt, nothing in this Final Order or in the Sale Guidelines

 shall be construed to exempt the Debtors from any obligation to comply with applicable law

 regarding the monitoring of suspicious orders or purchases.

        14.     Subject to any applicable Side Letter(s), (a) the Consultants are authorized to

 include Additional Consultant Goods in the Sales at the Closing Stores in accordance with, and

 subject to, the applicable provisions of the Consulting Agreement and Sale Guidelines; and (b) the

 Debtors are authorized to sell Additional Consultant Goods at the Closing Stores in accordance

 with this Final Order, the Sale Guidelines, and the Consulting Agreement, with the proceeds of
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 such sales (net of any Additional Consultant Goods Fee (as defined in the Consulting Agreement))

 to be remitted to the Consultants in accordance with the Consulting Agreement.

 III.   Conduct of the Sales.

        15.     All newspapers and other advertising media in which the Sales and Store Closings

 may be advertised and all landlords and subtenants are directed to accept this Final Order as

 binding authority so as to authorize the Debtors and the Consultants, as applicable, to conduct the

 Sales and Store Closings, including, without limitation, to conduct and advertise the sale of

 Non-Prescription Assets in the manner contemplated by and in accordance with this Final Order,

 the Sale Guidelines, and the Consulting Agreement.

        16.     Subject to the Dispute Resolution Procedures provided for in this Final Order, the

 Debtors and the Consultants, as applicable, are hereby authorized to take such actions as may be

 necessary or appropriate to conduct the Sales and Store Closings and to implement the Consulting

 Agreement, in each case, without necessity of further order of this Court and as provided in and

 pursuant to the Sale Guidelines (subject to any Side Letters) and the Consulting Agreement,

 including, but not limited to, advertising a Sale of Non-Prescription Assets as a “store closing

 sale”, “sale on everything”, “everything must go”, “going-out-of-business”, or similar-themed

 sales as contemplated in the Sale Guidelines through the posting of signs (including the use of

 exterior banners at non-enclosed mall closing locations, and at enclosed mall closing locations to

 the extent the applicable closing location entrance does not require entry into the enclosed mall

 common area), use of signwalkers, A-frames, and other street signage; provided that use of such
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                           Closing Sales, with Such Sales to Be Free and Clear of All Liens, Claims,
                           and Encumbrances and (II) Granting Related Relief

 exterior signage shall be conditioned upon the later of: (a) execution of an applicable Side Letter

 with the Debtors and/or the Consultants; or (b) entry of this Final Order.

         17.      Except as expressly provided in the Consulting Agreement and the Sale Guidelines

 and subject to any Side Letter, the sale of the Closing Store Assets shall be conducted by the

 Debtors and the Consultants, notwithstanding any Contractual Restrictions3 to the contrary relative

 to occupancy affecting or purporting to restrict the conduct of the Sales (including the sale of

 Additional Consultant Goods in connection with the Sales pursuant to the Consulting Agreement),

 abandonment of assets, or “going dark” provisions. Any such Contractual Restrictions shall not

 be enforceable in conjunction with the Store Closings and the Sales. Any breach of any such

 provisions in these chapter 11 cases in conjunction with the Store Closings or the Sales shall not

 constitute a default under a lease or provide a basis to terminate the lease; provided that the

 Store Closings and Sales (and any related sales of Additional Consultant Goods) are conducted in

 accordance with the terms of this Final Order, any Side Letter, and the Sale Guidelines. The

 Debtors (and/or the Consultants) (in any case, in consultation with the DIP Agents) and landlords

 of the Closing Stores are authorized to enter into agreements (“Side Letters”) among themselves

 modifying the Sale Guidelines without further order of the Court, and such Side Letters shall be

 binding as among the parties thereto; provided, however, that, in all circumstances, the Consulting

 Agreement’s provisions shall control whether and to what extent the Consultants are authorized to

 enter into Side Letters with landlord of Closing Stores. In the event of any conflict between the




 3
     “Contractual Restrictions” has the meaning given to such term in Docket No. 37 (the “Initial Motion”).
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 Sale Guidelines, the Consulting Agreement, any Side Letter, and this Final Order, subject to

 paragraph 33 hereof, the terms of such Side Letter shall control (provided that, in all

 circumstances, the Consulting Agreement shall control as to the Consultants’ authority to enter

 into any Side Letter). Side Letters shall be subject to the approval of the Debtors and copies thereof

 will be provided to the U.S. Trustee, the DIP Agents, Paul, Weiss, Rifkind, Wharton & Garrison

 LLP, 1285 Avenue of the Americas, New York, New York 10019 (Attn: Andrew N. Rosenberg

 (arosenberg@paulweiss.com); Brian S. Hermann (bhermann@paulweiss.com); and Christopher

 Hopkins (chopkins@paulweiss.com) and Fox Rothschild LLP, 49 Market Street, Morristown, NJ

 07960 (Attn: Howard A. Cohen (hcohen@foxrothschild.com); Joseph J. DiPasquale

 (jdipasquale@foxrothschild.com) and Michael R. Herz (mherz@foxrothschild.com), counsel for

 the Ad Hoc Secured Noteholder Group; counsel to the Official Committee of Unsecured Creditors,

 Kramer Levin Naftalis & Frankel LLP, 1177 Avenue of the Americas, New York, New York

 10036,     Attn:     Adam        Rogoff      (ARogoff@kramerlevin.com),          Rachael      Ringer

 (RRinger@kramerlevin.com), and Nancy Bello (NBello@kramerlevin.com); and Kelley Drye &

 Warren LLP, One Jefferson Road, 2nd Floor, Parsippany, New Jersey 07054, Attn: James S. Carr

 (jcarr@kelleydrye.com),     Robert    L.   LeHane     (rlehane@kelleydrye.com),      and    Maeghan

 McLoughlin (mmcloughlin@kelleydrye.com); and counsel to the Official Committee of Tort

 Claimants, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY 10036,

 Attn: Arik Preis (apreis@akingump.com), Kate Doorley (kdoorley@akingump.com), and James

 Salwen (jsalwen@akingump.com) at least two (2) business days’ prior to execution of any Side

 Letters (which period may be shortened or waived if so consented to by each of the DIP Agents,
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 the members of the Ad Hoc Secured Noteholder Group holding greater than two-thirds of the

 outstanding Prepetition Notes Secured Claims (as defined in the Final DIP Order), the Official

 Committee of Unsecured Creditors, the Official Committee of Tort Claimants, and the

 U.S. Trustee).

        18.       Except as expressly provided for herein or in the Sale Guidelines, no person or

 entity, including, but not limited to, any landlord, subtenant, licensor, service providers, utilities,

 or creditors, shall take any action to directly or indirectly prevent, interfere with, or otherwise

 hinder consummation of the Store Closings, the Sales, the sale of the Closing Store Assets or the

 Additional Consultant Goods, or the advertising and promotion (including the posting of signs and

 exterior banners or the use of sign-walkers) of such sales, as applicable, and all such parties and

 persons and entities of every nature and description, including, but not limited to, any landlord,

 subtenant, licensor, service providers, utilities, and creditors and all those acting for or on behalf

 of such parties, are prohibited and enjoined from (a) interfering in any way with, obstructing, or

 otherwise impeding, the conduct of the Store Closings and the Sales (including any related sales

 of Additional Consultant Goods), and/or (b) instituting any action or proceeding in any court

 (other than in this Court) or administrative body seeking an order or judgment against, among

 others, the Debtors, the Consultants, or the landlords at the closing locations that might in any way

 directly or indirectly obstruct or otherwise interfere with or adversely affect the conduct of the

 Store Closings, the Sales, the sale of the Closing Store Asset or the Additional Consultant Goods,

 or other liquidation sales at any Closing Stores and/or seek to recover damages for breach(es) of
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 covenants or provisions in any lease, sublease, license, or contract based upon any relief authorized

 herein.

           19.   In accordance with and subject to the terms and conditions of the Consulting

 Agreement, the Consultants shall have the right to use the Closing Stores and all related Closing

 Store services, furniture, fixtures, equipment and other assets of the Debtors for the purpose of

 conducting the Sales, free of any interference from any entity or person, subject to compliance

 with the Sale Guidelines (as may be modified by any Side Letters), the Consulting Agreement, and

 this Final Order.

           20.   The Consultants shall not be liable for sales taxes except to the extent expressly

 provided in the Consulting Agreement. The Debtors are directed to remit all taxes arising from

 the Sales to the applicable Governmental Units as and when due, provided that, in the case of a

 bona fide dispute, the Debtors are only directed to pay such taxes upon the resolution of such

 dispute, if and to the extent that the dispute is decided in favor of the applicable Governmental

 Unit. For the avoidance of doubt, sales taxes collected and held in trust by the Debtors shall not

 be used to pay any creditor or any other party, other than the applicable Governmental Unit for

 which the sales taxes are collected. The Consultants shall collect, remit to the Debtors, and account

 for sales taxes as and to the extent provided in the Consulting Agreement. This Final Order does

 not enjoin, suspend, or restrain the assessment, levy, or collection of any tax under state or federal

 law, and does not constitute a declaratory judgment with respect to any party’s liability for taxes

 under state or federal law.
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        21.     Pursuant to section 363(f) of the Bankruptcy Code, (a) the Debtors are authorized

 to sell the Closing Store Assets; (b) the Consultants are authorized to sell the Non-Prescription

 Assets, in all cases, subject to and in accordance with the terms and conditions of the Consulting

 Agreement; and (c) all sales of Closing Store Assets (including any Prescription Assets) shall be

 free and clear of any and all liens, claims, encumbrances, and other interests; provided, however,

 that any such liens, claims, encumbrances, and other interests shall attach to the proceeds of the

 sale of the Closing Store Assets with the same validity, in the amount, with the same priority as,

 and to the same extent that any such liens, claims, and encumbrances have with respect to the

 Closing Store Assets, subject to any claims and defenses that the Debtors may possess with respect

 thereto and the Inventory Fee and/or FF&E Fee (each as defined in the Consulting Agreement), as

 applicable.

        22.     The Debtors are authorized and empowered to (a) transfer Closing Store Assets

 among and into the Debtors’ store locations; (b) sell Non-Prescription Assets in accordance with

 the Sale Guidelines, as applicable; and (c) sell Prescription Assets in accordance with the terms

 and conditions of this Final Order. The Consultants are authorized and empowered to (a) transfer

 Non-Prescription Assets among and into the Debtors’ store locations and (b) sell Non-Prescription

 Assets and abandon the same, in each case, in accordance with the Sale Guidelines, as applicable,

 and the terms and conditions of the Consulting Agreement.

        23.     Notwithstanding anything to the contrary in this Final Order, the Consulting

 Agreement, or the Sale Guidelines, the Debtors shall not sell or abandon any property that the

 Debtors know is not owned by the Debtors; nor shall the Consultants sell or abandon any property
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 in the Consultants’ possession or control that the Consultants know is not owned by the Debtors;

 provided that the Debtors will either (a) provide for the return of such property to the Debtors’

 headquarters or (b) return such property to the applicable lessor, or other owner of the property.

         24.    Neither the Sale Guidelines, the Consulting Agreement, nor this Final Order

 authorize the Debtors or the Consultants to transfer or sell to any other party the personal

 identifying information (which means information that alone or in conjunction with other

 information identifies an individual, including but not limited to an individual’s first name

 (or initial) and last name, physical address, electronic address, telephone number, social security

 number, date of birth, government-issued identification number, account number and credit or

 debit card number, and which includes all information that is “Protected Health Information” as

 that term is defined in 45 C.F.R. § 160.103) (“PII”)) of any customers unless such sale or transfer

 is permitted by the Debtors’ privacy policies (including any applicable “Notice of Privacy

 Practices” adopted under 45 C.F.R. § 164.520) and applicable state or federal privacy and/or

 identity theft prevention laws and rules (collectively, the “Applicable Privacy Laws”), including

 for the avoidance of doubt the Health Insurance Portability and Accountability Act of 1996 and

 Health Information Technology for Economic and Clinical Health Act of 2009 (including their

 implementing regulations codified at 45 C.F.R. parts 160 and 164) and any state law of similar

 import. The foregoing shall not limit the use of the Debtors’ customer lists and mailing lists,

 including by the Consultants in accordance with the Consulting Agreement, solely for purposes of

 advertising and promoting the Sales, to the extent such use is not prohibited by Applicable Privacy

 Laws.
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        25.     Appointment of a consumer privacy ombudsman is not required with respect to the

 Sales that are consistent with the asset disposition strategy set forth in the Initial Motion as such

 Sales are consistent with the Debtors’ privacy policies. However, the Official Committee of

 Unsecured Creditors, the Official Committee of Tort Claimants, and the U.S. Trustee reserve their

 rights to seek to have a consumer privacy ombudsman appointed in the event the Debtors

 materially deviate from the asset disposition strategy set forth in the Initial Motion.

        26.     The Debtors and/or the Consultants, as applicable, shall remove or cause to be

 removed any confidential and/or PII in any of the Debtors’ hardware, software, computers or cash

 registers or similar equipment which are to be sold or abandoned so as to render the PII unreadable

 or undecipherable. At the conclusion of any Sales overseen by the Consultants, the Consultants

 shall provide the Debtors with written verification that the Consultants have not removed, copied,

 or transferred any customer PII and that any records containing PII that were in the Consultants’

 possession or control during such Sales were shredded, erased or otherwise modified to render the

 PII unreadable or undecipherable.

        27.     Nothing herein shall limit the Debtors’ right to suspend, postpone, or discontinue a

 Sale at a Closing Store on notice to affected parties; provided that no Group 2 Sale or Group 3 Sale

 at a Closing Store that has commenced in accordance with the provisions of the Consulting

 Agreement may be suspended, postponed, or discontinued without the consent of the DIP Agents.

        28.     Nothing herein is intended to affect any rights of any applicable Government Unit

 to enforce any law affecting the Debtors’ conduct of any store closing sale that occurred before

 the Petition Date.
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 IV.    Procedures Relating to Additional Closing Stores.

        29.     To the extent that the Debtors seek to conduct Sales at any Additional Closing

 Stores, the Sale Guidelines and this Final Order shall apply to each such Additional Closing Store

 (and the corresponding Additional Store Closing(s)).

        30.     Except with respect to Sales of Prescription Assets, before conducting the Sales at

 any Additional Closing Store, the Debtors will file with the Court a list of each such Additional

 Closing Store (each, an “Additional Closing Store List”) and serve a notice of their intent to conduct

 the applicable Sales at the Additional Closing Store on the General Notice Parties (as defined herein),

 including applicable landlords (collectively, the “Additional Closing Store Landlords”), by email

 (to the extent available to the Debtors) or overnight mail within five business days of filing the

 Additional Closing Store List (unless such period is extended by the Court). With respect to the

 Dispute Notice Parties, including the Additional Closing Store Landlords, the Debtors will mail,

 if applicable, such notice to the notice address set forth in the lease for such Additional Closing

 Store (or at the last known address available to the Debtors).

        31.     The relevant Additional Closing Store Landlords and any other interested parties

 shall have ten days after service of the applicable Additional Closing Store List to object to the

 application of this Final Order to the Additional Closing Store(s) included in such Additional

 Closing Store List. If no timely objections are filed with respect to the application of this Final

 Order to an Additional Closing Store, the Debtors shall be authorized to proceed with conducting

 the Sales at the Additional Closing Stores (and any corresponding Additional Store Closing(s)) in

 accordance with this Final Order and the Sale Guidelines. If any objections are filed with respect
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 to the application of this Final Order to an Additional Closing Store and such objections are not

 resolved, the objections and the application of this Final Order to the Additional Closing Store will

 be considered by the Court at the next regularly scheduled omnibus hearing, subject to the rights

 of any party to seek relief on an emergency basis on shortened notice, to the extent necessary.

 V.     Dispute Resolution Procedures with Governmental Units.

        32.     Nothing in this Final Order, the Consulting Agreement, the Sale Guidelines, or any

 Side Letter releases, nullifies, or enjoins the enforcement of any liability to a Governmental Unit

 under environmental laws or regulations (or any associated liabilities for penalties, damages, cost

 recovery, or injunctive relief) to which any entity would be subject as the owner, lessor, lessee, or

 operator of the property after the date of entry of this Final Order. Nothing contained in this Final

 Order, the Consulting Agreement, the Sale Guidelines, or any Side Letter shall in any way:

 (a) diminish the obligation of any entity to comply with environmental laws; or (b) diminish the

 obligations of the Debtors to comply with environmental laws consistent with their rights and

 obligations as debtors in possession under the Bankruptcy Code. The Store Closings and the Sales

 shall not be exempt from laws of general applicability, including, without limitation, public health

 and safety, criminal, tax, (including, but not limited to, the collection of sales taxes), labor,

 employment, environmental, antitrust, fair competition, traffic, Applicable Privacy Laws, and

 consumer protection laws, including consumer laws regulating deceptive practices and false

 advertising, consumer protection, the sale of gift certificates, layaway programs, return of goods,

 express or implied warranties of goods, and “weights and measures” regulation and monitoring

 (collectively, “General Laws”). Nothing in this Final Order, the Consulting Agreement, the Sale
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 Guidelines, or any Side Letter shall alter or affect obligations to comply with all applicable federal

 safety laws and regulations. Nothing in this Final Order shall be deemed to bar any Governmental

 Unit (as such term is defined in section 101(27) of the Bankruptcy Code) from enforcing General

 Laws in the applicable non-bankruptcy forum, subject to the Debtors’ rights to assert in that forum

 or before this Court, that any such laws are not in fact General Laws or that such enforcement is

 impermissible under the Bankruptcy Code or this Final Order. Notwithstanding any other

 provision in this Final Order, no party waives any rights to argue any position with respect to

 whether the conduct was in compliance with this Final Order and/or any applicable law, or that

 enforcement of such applicable law is preempted by the Bankruptcy Code. Nothing in this Final

 Order shall be deemed to have made any rulings on any such issues.

        33.     To the extent that the sale of Closing Store Assets is subject to any Liquidation Sale

 Laws, the following provisions of this paragraph 33 shall apply and control over any Side Letters:

        i.      Provided that the Sales are conducted in accordance with this Final Order and the
                Sale Guidelines, the Debtors, the Consultants, and the Debtors’ landlords shall be
                deemed to be in compliance with any requirements of all county, parish, municipal,
                or other local government (collectively, “Local”) and state Liquidation Sale Laws
                that would otherwise apply to the Store Closings or the Sales; provided, that the
                term “Liquidation Sale Laws” shall not include any public health or safety laws of
                any state (collectively, “Safety Laws”), and the Debtors and the Consultants shall
                continue to be required to comply, as applicable, with such Safety Laws and
                General Laws, subject to any applicable provision of the Bankruptcy Code and
                federal law, and nothing in this Final Order shall be deemed to bar Governmental
                Units (as defined in section 101(27) of the Bankruptcy Code) or public officials
                from enforcing Safety Laws or General Laws.

        ii.     Within five business days after entry of this Final Order (unless such period is
                extended by the Court), the Debtors will serve by first-class mail copies of this Final
                Order, the Consulting Agreement, and the Sale Guidelines on the following: (a) the
                Attorney General’s office for each state where the Sales are being held; (b) the
                Board of Pharmacy’s office for each state where a Closing Store is located; (c) the
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               county consumer protection agency or similar agency for each county where the
               Sales are being held; (d) the division of consumer protection for each state where
               the Sales are being held; (e) the landlords, and known counsel for the landlords if
               any, for the Closing Store; and (f) any subtenants (if any) under the leases with
               respect to the Closing Stores (collectively, the “Dispute Notice Parties”).

        iii.   With respect to any Additional Closing Stores, within five business days after filing
               any Additional Closing Store List with the Court (unless such period is extended
               by the Court), the Debtors will serve copies of this Final Order, the Consulting
               Agreement, and the Sale Guidelines on the applicable Dispute Notice Parties.

        iv.    To the extent that there is a dispute arising from or relating to the Sales, this Final
               Order, the Consulting Agreement, or the Sale Guidelines, which dispute relates to
               any Liquidation Sale Laws (a “Reserved Dispute”), the Court shall retain exclusive
               jurisdiction to resolve the Reserved Dispute. Within ten days following entry of
               this Final Order, or service of an Additional Closing Store List, any
               Governmental Unit may assert that a Reserved Dispute exists by serving a notice
               (the “Dispute Notice”) explaining the nature of the dispute on: (a) Kirkland & Ellis
               LLP, 601 Lexington Avenue, New York, New York 10022, Attn: Joshua A.
               Sussberg, P.C., Aparna Yenamandra, P.C.; Ross J. Fiedler, and Zachary R.
               Manning; (b) Cole Schotz, P.C., Court Plaza North, 25 Main Street, Hackensack,
               New Jersey 07601, Attn: Michael D. Sirota, Warren A. Usatine, Felice R. Yudkin,
               and Seth Van Aalten; (c) Paul, Weiss, Rifkind, Wharton & Garrison LLP, 1285
               Avenue of the Americas, New York, New York 10019 (Attn: Andrew N. Rosenberg
               (arosenberg@paulweiss.com); Brian S. Hermann (bhermann@paulweiss.com);
               and Christopher Hopkins (chopkins@paulweiss.com) and Fox Rothschild LLP,
               49 Market Street, Morristown, NJ 07960 (Attn: Howard A. Cohen
               (hcohen@foxrothschild.com);                 Joseph           J.           DiPasquale
               (jdipasquale@foxrothschild.com)             and       Michael          R.         Herz
               (mherz@foxrothschild.com), counsel for the Ad Hoc Secured Noteholder Group;
               (d) the United States Trustee for the District of New Jersey, One Newark Center,
               Suite 2100, Newark, NJ 07102, Attn: Jeffrey M. Sponder and Lauren Bielskie;
               (e) Choate, Hall & Stewart LLP, Two International Place, Boston, MA 02110
               (Attn: John F. Ventola (jventola@choate.com), Jonathan D. Marshall
               (jmarshall@choate.com) and Mark D. Silva (msilva@choate.com) and Greenberg
               Traurig, LLP, 500 Campus Drive, Suite 400, Florham Park NJ 07932 (Attn: Alan
               J. Brody (brodya@gtlaw.com), Oscar N. Pinkas (pinkaso@gtlaw.com));
               (f) counsel to the Official Committee of Unsecured Creditors, Kramer Levin
               Naftalis & Frankel LLP, 1177 Avenue of the Americas, New York, New York
               10036, Attn: Adam Rogoff (ARogoff@kramerlevin.com), Rachael Ringer
               (RRinger@kramerlevin.com), and Nancy Bello (NBello@kramerlevin.com); and
               Kelley Drye & Warren LLP, One Jefferson Road, 2nd Floor, Parsippany, New
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               Jersey 07054, Attn: James S. Carr (jcarr@kelleydrye.com), Robert L. LeHane
               (rlehane@kelleydrye.com),            and          Maeghan            McLoughlin
               (mmcloughlin@kelleydrye.com); (g) counsel to the Official Committee of Tort
               Claimants, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, New York,
               NY 10036, Attn: Arik Preis (apreis@akingump.com), Kate Doorley
               (kdoorley@akingump.com), and James Salwen (jsalwen@akingump.com);
               (h) counsel to the Consultants, Leichtman Law PLLC, 185 Madison Avenue, 15th
               Floor,    New      York,    NY         10016,    Attn:     Maura    I.   Russell
               (mrussell@leichtmanlaw.com), and Lowenstein Sandler LLP, One Lowenstein Dr,
               Roseland, NJ 07068, Attn: Jeffrey Cohen (jcohen@lowenstein.com) and Andrew
               Behlmann (abehlmann@lowenstein.com); and (i) the affected landlord or its
               known counsel. If the Debtors and the Governmental Unit are unable to resolve
               the Reserved Dispute within fifteen days after service of the Dispute Notice, the
               Governmental Unit may file a motion with the Court requesting that the Court
               resolve the Reserved Dispute (a “Dispute Resolution Motion”).

        v.     If a Dispute Resolution Motion is filed, nothing in this Final Order shall preclude
               the Debtors, a landlord, or any other interested party from asserting (a) that the
               provisions of any Liquidation Sale Laws are preempted by the Bankruptcy Code,
               or (b) that neither the terms of this Final Order, nor the conduct of the Debtors
               pursuant to this Final Order, violates such Liquidation Sale Laws. The filing of a
               Dispute Resolution Motion as set forth herein shall not be deemed to affect the
               finality of this Final Order or to limit or interfere with the Debtors’ or the
               Consultants’ ability to conduct or to continue to conduct the Sales pursuant to this
               Final Order absent further order of the Court. Upon the entry of this Final Order,
               the Court expressly authorizes the Debtors and the Consultants to conduct the Sales
               pursuant to the terms of the Final Order, the Consulting Agreement, and the Sale
               Guidelines (as may be modified by Side Letters) and to take all actions reasonably
               related thereto or arising in connection therewith. The Governmental Unit will be
               entitled to assert any jurisdictional, procedural, or substantive arguments it wishes
               with respect to the requirements of its Liquidation Sale Laws or the lack of any
               preemption of such Liquidation Sale Laws by the Bankruptcy Code. Nothing in
               this Final Order will constitute a ruling with respect to any issues to be raised in
               any Dispute Resolution Motion.

        vi.    If, at any time, a dispute arises between the Debtors and/or the Consultants, on the
               one hand, and a Governmental Unit, on the other hand, as to whether a particular
               law is a Liquidation Sale Law, and subject to any provisions contained in this Final
               Order related to the Liquidation Sale Laws, then any party to that dispute may
               utilize the provisions of subparagraphs (iv) and (v) above by serving a notice to the
               other party and proceeding thereunder in accordance with those paragraphs. Any
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                determination with respect to whether a particular law is a Liquidation Sale Law
                shall be made de novo.

        34.     Subject to paragraphs 32 and 33 above, each and every federal, state, or local

 agency, department, or Governmental Unit with regulatory authority over the Store Closings or

 the Sales and all newspapers and other advertising media in which the Sales are advertised shall

 consider this Final Order as binding authority that no further approval, license, or permit of any

 Governmental Unit shall be required, nor shall the Debtors or the Consultants be required to post

 any bond, to conduct the Sales.

        35.     Provided that the Store Closings and the Sales are conducted in accordance with the

 terms of this Final Order, the Sale Guidelines (as may be modified by Side Letters), and the

 Consulting Agreement, and in light of the provisions in the laws that exempt court-ordered sales from

 their provisions, the Debtors and the Consultants shall be presumed to be in compliance with any

 Liquidation Sale Laws and are authorized to conduct the Store Closings and the Sales in accordance

 with the terms of this Final Order, the Sale Guidelines (as may be modified by Side Letters), and the

 Consulting Agreement without the necessity of further showing compliance with any such

 Liquidation Sale Laws.

        36.     Nothing in this Final Order, the Consulting Agreement, the Sale Guidelines, or any

 Side Letter releases, nullifies, or enjoins the enforcement of any liability to a Governmental Unit

 under environmental laws or regulations (or any associated liabilities for penalties, damages, cost

 recovery, or injunctive relief) to which any entity would be subject as the owner, lessor, lessee, or

 operator of the property after the date of entry of this Final Order. Nothing contained in this Final

 Order, the Consulting Agreement, the Sale Guidelines, or any Side Letter shall in any way:
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 (a) diminish the obligation of any entity to comply with environmental laws; or (b) diminish the

 obligations of the Debtors to comply with environmental laws consistent with their rights and

 obligations as debtors in possession under the Bankruptcy Code.

 VI.    Other Provisions.

        37.     The consignment of Additional Consultant Goods to the Debtors pursuant to the

 Consulting Agreement constitutes a true consignment under Article 9 of the Uniform Commercial

 Code (as adopted by applicable state statues) and not a consignment for security purposes. At all

 times and for all purposes, the Additional Consultant Goods and the Consultants’ portion of the

 identifiable proceeds of Additional Consultant Goods shall be the exclusive property of the

 Consultants, and, except for the Debtors’ entitlement to the Additional Consultant Goods Fee as

 set forth herein and in the Consulting Agreement, no other person or entity (including, without

 limitation, the Debtors or any person or entity claiming a security interest in the Debtors’ property,

 including any of the Debtors’ secured lenders) shall have any claim against or interest in any of

 the Additional Consultant Goods or such identifiable proceeds thereof. The Additional Consultant

 Goods shall at all times remain subject to the exclusive control of the Consultants. To the extent

 any Additional Consultant Goods are consigned to the Debtors pursuant to the Consulting

 Agreement, the Debtors shall, at the Consultants’ sole cost and expense, insure such Additional

 Consultant Goods and, if required, promptly file any proofs of loss with regard thereto.

        38.     The Consultants are hereby granted a first-priority security interest in and lien upon

 (a) the Additional Consultant Goods and (b) the identifiable proceeds of any Additional Consultant

 Goods (net of any Additional Consultant Goods Fee (as defined in the Consulting Agreement)
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 payable to the Debtors pursuant to the Consulting Agreement), which security interest and lien

 shall be deemed perfected without the requirement of filing any financing statements or providing

 notifications to any prior secured parties (provided that the Consultants are hereby authorized to

 deliver any notices and file any financing statements and amendments thereof under the applicable

 statute(s) identifying the Consultants’ interest in the Additional Consultant Goods (and any

 proceeds thereof) as consigned goods thereunder and the Debtors as the consignee therefor, and

 the Consultants’ security interest in such Additional Consultant Goods and the Consultants’

 portion of the identifiable proceeds of the Additional Consultant Goods).

        39.     To the extent the Debtors are subject to any Fast Pay Laws in connection with the

 Store Closings, the Debtors shall be presumed to be in compliance with such laws to the extent, in

 applicable states, such payroll payments are made by the later of: (a) the Debtors’ next regularly

 scheduled payroll; and (b) seven calendar days following the termination date of the relevant

 employee, and in all such cases consistent with, and subject to, any previous orders of this Court

 regarding payment of same.

        40.     In the event that (a) a Group 3 Store is deemed a “Covered Store”

 (as defined in the Consulting Agreement) pursuant to section 7(c)(iv) of the Consulting

 Agreement (each such Group 3 Store, a “Covered Group 3 Store”) or (b)(i) a Specified Sale

 Process Default has occurred and (ii) the DIP Remedies Notice Period has expired, then, in each

 case of clauses (a) and (b), the DIP Agents (or the Debtors, with the consent of the DIP Agents)

 may direct the Consultants to conduct Group 3 Sales (as defined in the Consulting Agreement)

 at each Store (limited, in the case of clause (a) of this paragraph 40, to Stores that are not
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 Extended Group 3 Stores) in accordance with the Consulting Agreement without further order of

 or application or motion to the Court (such Group 3 Sales, “Covered Sales”). Each Store at

 which Covered Sales may be conducted under this paragraph 40 shall be deemed an

 Additional Closing Store under this Final Order effective as of the earliest date that Covered Sales

 may be conducted at such Store pursuant to this paragraph 40, unless the Debtors, with the

 consent of the DIP Agents, notify the landlord of such Store otherwise. The provisions of

 paragraphs 30, 31, 33(iii), and 33(iv) of this Final Order shall not apply to Store Closings and

 Covered Sales conducted pursuant to this paragraph 40. Such Store Closings and Covered Sales

 shall be subject to oversight by the Court. The Debtors shall notify the landlord(s) of each

 prospective Covered Group 3 Store of prospective Covered Sales at such Store. In the event of any

 Covered Sales, the Consultants’ Fees and Expenses (including any past due amounts) shall be paid

 from the proceeds of such Covered Sales in accordance with the terms of the Consulting Agreement,

 free and clear of any liens or security interests, and without adherence to any weekly, monthly, or

 aggregate limitation in any Approved Budget, but subject to the terms of the Consulting Agreement

 (including as to any expense budget attached thereto); provided, however, that, notwithstanding

 section 3(a) of the Consulting Agreement, the reconciliations with respect to the proceeds of

 Covered Sales and Additional Consultant Goods (if any), the payment of the Consultants’ Fees and

 Expenses (including any past due amounts) from the proceeds of Covered Sales, and the remittance
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 to the Consultants of the identifiable proceeds of any sale(s) of any Additional Consultant Goods

 (net of the Additional Consultant Goods Fee) shall, in each case, occur on a weekly basis.4

         41.     The proceeds of any Sale of FF&E under this Final Order, net of any

 applicable FF&E Fee and budgeted expenses incurred in connection with such Sale(s) of FF&E

 (such net proceeds, the “FF&E Proceeds”), shall be deposited into an interest-bearing

 segregated account of the Debtors maintained for the benefit of the Split-Priority Debt Parties

 (subject to this paragraph 41) at a financial institution that is reasonably acceptable to the Required

 Consenting Noteholders and party to a uniform depository agreement with the U.S. Trustee

 (the “FF&E Proceeds Escrow Account”). The FF&E Proceeds Escrow Account shall be subject

 to the Prepetition Liens (subject to the Challenge Period), the Adequate Protection Liens, and the

 DIP Liens and shall not be used for any purpose other than maintaining the FF&E Proceeds of any

 Sale of FF&E under this Final Order. With respect to escrowed amounts in the FF&E Proceeds

 Escrow Account, such funds shall be released to the Split-Priority Debt Parties to be applied to the

 Existing Split-Priority Indebtedness upon further order of the Court or as otherwise agreed among

 the Debtors, the Required Consenting Noteholders, the DIP Agents, and the Committees; provided

 that if the Existing Split-Priority Indebtedness has been repaid in full in cash, any excess funds in

 the FF&E Proceeds Escrow Account shall be released to the Debtors. For the avoidance of doubt,

 and notwithstanding anything to the contrary that may be contained in or implied by this

 paragraph 41 or otherwise in this Final Order (but subject to the Consultants’ rights under



 4
     Capitalized terms used but not defined in this paragraph 40 have the meanings given to such terms in the
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 paragraphs 3 and 40 of this Final Order regarding payment of Fees and Expenses), this Final Order

 shall be subject in all respects to the Final DIP Order, and to the extent of any inconsistency

 between or ambiguity in construing this Final Order and the Final DIP Order, the Final DIP Order

 shall govern (except as to (x) the DIP Agents’ rights under paragraph 40 of this Final Order and

 (y) the Consultants’ rights under paragraphs 3 and 40 of this Final Order regarding payment of Fees

 and Expenses, as to which this Final Order shall govern).5

         42.     Within seven (7) days of entry of the Final Order (unless such period is extended

 by the Court), the Consultants shall file a declaration disclosing connections to the Debtors, their

 creditors, and other parties in interest in these chapter 11 cases, and the Debtors shall serve the

 same on the U.S. Trustee, the DIP Agents, the Ad Hoc Secured Noteholder Group, the Official

 Committee of Unsecured Creditors, the Official Committee of Tort Claimants, and all parties who

 have filed requests for service under Bankruptcy Rule 2002, by email, or if the email address is

 not available to the Debtors, then by first class mail. Parties in interest shall have ten days after

 service of such declaration to request additional information regarding the matters disclosed in the

 declaration (unless such period is extended by the Court).

         43.     The Consultants shall act solely as an independent consultant to the Debtors and

 shall not be liable for any claims against the Debtors other than as expressly provided in the

 Consulting Agreement (including the Consultants’ indemnity obligations thereunder) or the Sale

 Guidelines, with the exception of acts of gross negligence, fraud, or willful misconduct and, for



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     Capitalized terms used but not defined in this paragraph 41 have the meanings given to such terms in the
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 greater certainty, the Consultants shall not be deemed to be an employer, or a joint or successor

 employer or a related or common employer or payor within the meaning of any legislation

 governing employment or labor standards or pension benefits or health and safety or other statute,

 regulation or rule of law or equity for any purpose whatsoever, and shall not incur any successor

 liability whatsoever.

        44.     Notwithstanding the relief granted in this Final Order and any actions taken

 pursuant to such relief, nothing in this Final Order shall be deemed: (a) an admission as to the

 validity of any particular claim against the Debtors; (b) a waiver of the Debtors’ rights to dispute

 any particular claim on any grounds; (c) a promise or requirement to pay any particular claim;

 (d) an implication or admission that any particular claim is of a type specified or defined in this

 Final Order or the Motion; (e) an authorization to assume any agreement, contract, or lease,

 pursuant to section 365 of the Bankruptcy Code; (f) a waiver or limitation of the Debtors’, or any

 other party in interest’s, rights under the Bankruptcy Code or any other applicable law; or (g) a

 concession by the Debtors that any liens (contractual, common law, statutory, or otherwise) that

 may be satisfied pursuant to the Motion or this Final Order are valid, and the rights of all parties

 are expressly reserved to contest the extent, validity, or perfection or seek avoidance of all such

 liens. Any payment made pursuant to this Final Order is not intended and should not be construed

 as an admission as to the validity of any particular claim or a waiver of the Debtors’ rights to

 subsequently dispute such claim, other than with respect to amounts payable to the Consultants

 pursuant to the Consulting Agreement, which are governed by the reconciliation procedures in the
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 Consulting Agreement and the provisions of paragraphs 3 and 40 of this Final Order regarding

 payment of the Consultants’ Fees and Expenses.

        45.     Notwithstanding anything to the contrary contained in the Motion or this Final Order

 (but subject to (x) the DIP Agents’ rights under paragraph 40 of this Final Order and (y) the

 Consultants’ rights under paragraphs 3 and 40 of this Final Order as to payment of Fees and Expenses),

 any payment to be made, obligation incurred, or relief or authorization granted hereunder shall not

 be inconsistent with, and shall be subject to and in compliance with, the requirements imposed on

 the Debtors under the terms of the Final DIP Order, including compliance with any budget or cash

 flow forecast in connection therewith and any other terms and conditions thereof. Nothing herein

 is intended to modify, alter, or waive, in any way, any terms, provisions, requirements, or

 restrictions of the Final DIP Order and to the extent of any conflict or inconsistency between

 this Final Order and the Final DIP Order, the Final DIP Order shall govern and control

 (except as to (x) the DIP Agents’ rights under paragraph 40 of this Final Order and (y) the

 Consultants’ rights under paragraphs 3 and 40 of this Final Order regarding payment of Fees and

 Expenses, as to which this Final Order shall govern and control).

        46.     On a confidential basis and upon the written (including email) request of the

 U.S. Trustee (which request has been made), the Official Committee of Unsecured Creditors, the

 Official Committee of Tort Claimants, or the advisors to the Ad Hoc Secured Noteholder Group,

 the Debtors shall provide copies of periodic reports on a weekly basis concerning the Sales and

 Store Closings (including any sale(s) of Additional Consultant Goods) that are prepared by the

 Debtors, their professionals, and/or the Consultants; provided, however, that the foregoing shall
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 not require the Debtors or their professionals to prepare or undertake to prepare any additional or

 new reports other than (a) the monthly Sales and Store Closing reports; and (b) any reporting

 prepared or undertaken by the Consultants pursuant to the Consultant Agreement, which reporting

 shall include weekly reporting to the advisors to the DIP Agents, the advisors to the

 Ad Hoc Secured Noteholder Group, the advisors to the Official Committee of Unsecured Creditors

 (on a professional-eyes-only basis), and the advisors to the Official Committee of Tort Claimants,

 including: (i) for each applicable weekly reporting period and the cumulative period commencing

 from the Agreement Effective Date (as defined in the Consulting Agreement), (A) a summary of

 Sales under this Final Order, (B) the gross and net proceeds of such Sales on an aggregate basis and

 attributable to each category of asset sold (i.e., Inventory, FF&E, and Additional Consultant Goods),

 and (C) the total amount of Consultants’ Fees and Expenses paid by the Debtors attributable to

 each category of asset sold; and (ii) a rolling segregated balance of Split-Lien Proceeds resulting

 from Sales under this Final Order on a cumulative basis. Within thirty days after the date of

 completion of all Store Closings and Sales, the Debtors shall file a summary report that sets forth

 (a) a list of all Store Closings; (b) the Debtors’ gross revenue from all Sales; (c) the total fees paid

 to the Consultants; and (d) the total expenses reimbursed to the Consultants.6

         47.     Notwithstanding anything to the contrary in this Final Order, the Debtors are not

 authorized to, and shall not, sell the modems, ACA equipment (an electronic device used in the

 provision of voice over internet phone services), and any other equipment provided to the Debtors



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     Capitalized terms used but not defined in this paragraph 46 have the meanings given to such terms in the
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 by Comcast Cable Communications Management, LLC and its affiliates or authorized contractors

 (collectively, “Comcast”) but excluding any inside wiring located in the Debtors’ leased premises

 and headquarters (the “Comcast Equipment”).         Further, both Comcast and the Debtors are

 authorized to continue the existing Comcast Equipment return process in the ordinary course,

 provided that in the event the Debtors seek to terminate Comcast services at a location, the Debtors

 or their agent will notify Comcast by email to MES_CARE@comcast.com and

 roglenl@ballardspahr.com, with a copy to proposed counsel to the Debtors.

        48.     Notwithstanding anything to the contrary in this Final Order, in conducting the

 Store Closings, the Debtors shall comply with that certain Supply Agreement, dated

 February 24, 2022 (as amended, the “AG SBT Agreement”), by and among Rite Aid Hdqtrs.

 Corp., the Bartell Drug Company, American Greetings Corporation (“AGC”) and Papyrus

 Recycled Greetings, Inc. (“PRG” and, together with AGC, “American Greetings”), and the Scan-

 Based Trading Terms attached as Attachment 3 thereto and incorporated therein

 (the “SBT Terms”), in all respects, including, without limitation, by: (a) selling, and not returning

 to American Greetings, the products in the Debtors’ possession that were or are hereafter supplied

 by American Greetings (collectively, the “AG Products”) for sale at such Closing Store in

 accordance with the AG SBT Agreement until such time as the Store Closing of each Closing

 Store is completed; (b) conducting all sales of the AG Products through the Debtors’ point of

 sale system and paying American Greetings’ portion of the proceeds of such sales

 (the “AG Sale Proceeds”) to American Greetings consistent with the SBT Terms; and

 (c) disposing at retail, and not returning to American Greetings, all AG Products remaining in the
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 Debtors’ possession upon final closure of a Closing Store. The Debtors are hereby authorized and

 directed to continue to remit the AG Sale Proceeds to American Greetings pursuant to the terms

 of the AG SBT Agreement; provided that nothing herein shall be deemed to constitute any

 assumption by the Debtors of the AG SBT Agreement, with the Debtors and American Greetings

 reserving all of their rights with respect thereto under 11 U.S.C. § 365.

        49.     Nothing in this Final Order or the Sale Guidelines shall affect or otherwise limit or

 relieve the Debtors from their obligations with respect to (a) that certain Western Union North

 America Agency Agreement (the “Agency Agreement”) between certain of the Debtor parties and

 Western Union Financial Services, Inc. (“Western Union”), and (b) Western Union’s property

 described under the Agency Agreement, including, but to not limited to, the Equipment (as defined

 in the Agency Agreement); provided that the Debtors shall dispose of or return Western Union’s

 property and Equipment in a manner as is mutually agreed to between the Debtors and Western

 Union in writing with email being sufficient. Western Union’s right to assert an administrative

 expense claim to the extent the Debtors sell, abandon, or otherwise misplace Western Union’s

 property being held or controlled by the Debtors pursuant to the Agency Agreement, including the

 Equipment, or Western Union is otherwise damaged by the Debtors’ breach of its obligations to

 return or destroy Equipment in accordance with the Agency Agreement, is preserved and reserved.

 Furthermore, nothing in this Final Order shall alter the parties’ rights and obligations under the

 Agency Agreement and the Bankruptcy Code.

        50.     Notwithstanding anything to the contrary in this Final Order or the Sale Guidelines,

 none of the Debtors’ insurance policies (and/or any agreements related thereto between any of the
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 Debtors, on the one hand, and the applicable insurer(s) and/or third-party administrators, on the

 other hand) shall be abandoned, sold, assigned, or otherwise transferred pursuant to any Sale(s)

 without the express prior written consent of the applicable insurer and/or third-party administrator.

        51.     The Consulting Agreement does not modify any existing insurance coverage

 obligations of the Debtors under any unexpired lease of non-residential real property or applicable

 nonbankruptcy law.

        52.     For the avoidance of doubt, notwithstanding anything contained in this Final Order

 to the contrary, all of the rights of the Debtors, FLAVORx, Inc. (“FLAVORx”), and any other

 parties are preserved under this Final Order with respect to each of such party’s rights, title

 and interest, if any, in any equipment subject to the All-In-One Master Lease, Supply

 and License Agreement      for   Pure   Water    Dispensing,    Medication     Reconstituting    and

 Flavoring entered into by and between FLAVORx Inc. and Rite Aid Hdqtrs. Corp

 (such equipment, the “FLAVORx Equipment”). Pending a determination of title, the Debtors

 shall not sell, abandon, or otherwise interfere with any FLAVORx interests in any such

 FLAVORx Equipment.

        53.     The requirements set forth in Bankruptcy Rule 6003(b) are satisfied by the contents

 of the Motion or otherwise deemed waived.

        54.     The Debtors are authorized to take all actions necessary to effectuate the relief

 granted pursuant to this Final Order in accordance with the Motion.

        55.     Notwithstanding any Bankruptcy Rule to the contrary, this Final Order shall be

 effective and enforceable immediately upon entry hereof.
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        56.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

 of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

 by such notice.

        57.     The requirement set forth in Local Rule 9013-1(a)(3) that any motion be

 accompanied by a memorandum of law is hereby deemed satisfied by the contents of the Motion

 or otherwise waived.

        58.     Within two business days after the entry of this Final Order, the Debtors shall serve

 a copy of this Final Order and the Motion on (a) the Dispute Notice Parties, (b) the parties listed

 on the Debtors’ master service list in these chapter 11 cases; (c) any Closing Store Interested Party

 (as defined herein), (d) the United States Attorney’s Office for the District of New Jersey,

 (e) the Internal Revenue Service, (f) the Securities and Exchange Commission, (g) the U.S.

 Trustee, (h) counsel to the Official Committee of Unsecured Creditors, (i) counsel to the

 Official Committee of Tort Claimants, and (j) all parties required to receive such

 service pursuant to Local Rule 9013-5(f) (collectively, the “General Notice Parties”). The term

 “Closing Store Interested Party” means, as of any date of determination, with respect to a

 Closing Store, any party known to have or assert an interest in such Closing Store or in any

 property or assets located at such Closing Store.

        59.     This Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation, interpretation, and enforcement of this Final Order, including, but

 not limited to: (a) any claim or issue relating to any efforts by any party or person to prohibit,

 restrict or in any way limit banner and sign-walker advertising, including with respect to any
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 Debtors:              RITE AID CORPORATION, et al.
 Case No.              23-18993 (MBK)
 Caption of Order:     Amended Final Order (I) Authorizing and Approving the Conduct of Store
                       Closing Sales, with Such Sales to Be Free and Clear of All Liens, Claims,
                       and Encumbrances and (II) Granting Related Relief

 allegations that such advertising is not being conducted in a safe, professional, and non-deceptive

 manner; (b) any claim of the Debtors, the landlords, and/or the Consultants for protection from

 interference with the Store Closings or Sales; (c) any other disputes related to the Store Closings

 or Sales; and (d) protect the Debtors and/or the Consultants against any assertions of any liens,

 claims, encumbrances, and other interests. No such parties or person shall take any action in

 respect of the Debtors, the Consultants, the landlords, the Store Closings, or the Sales until this

 Court has resolved such dispute. This Court shall hear the request of such parties or persons with

 respect to any such disputes on an expedited basis, as may be appropriate under the circumstances.
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                                   Schedule 1

                              Consulting Agreement
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 January 20, 2024

 Steve Bixler
 SVP and Chief Accounting Officer
 Rite Aid Hdqtrs. Corp.
 1200 Intrepid Avenue, 2nd Floor
 Philadelphia, PA 19912

 Re: Consulting Engagement

 Dear Mr. Bixler:

     This letter agreement (together with all exhibits hereto, this “Agreement”) confirms the
 understanding and agreement among SB360 Capital Partners, LLC (“SB360”), Hilco Merchant
 Resources, LLC (“Hilco,” and together with SB360, the “Consultants”), and Rite Aid Hdqtrs.
 Corp. (together with its affiliates that are chapter 11 debtors, collectively, the “Merchant”)
 regarding the Merchant’s joint engagement of the Consultants to be retained pursuant to
 section 363 of the Bankruptcy Code to provide certain consulting services to the Merchant on the
 terms and conditions set forth herein (the “Engagement”). Capitalized terms used in this
 Agreement have the meanings ascribed to them in this Agreement. This agreement refers to the
 Merchant, SB360, and Hilco each as a “Party” and collectively as the “Parties.”

     In accordance with the contractual joint venture between SB360 and Hilco, (1) principals of
 SB360 will lead the Engagement, and (2) principals of each of SB360 and Hilco will collaborate
 to provide all services necessary for the Engagement, with the assistance of additional SB360 and
 Hilco personnel possessing the requisite skills and experience necessary to achieve the objectives
 of the Engagement in the most expeditious and effective manner. For the avoidance of doubt, the
 Merchant will have full decision-making authority with respect to all matters within the scope of
 this Agreement.

  1.    Certain Defined Terms.

         (a)    “Agreement Effective Date” means January 20, 2024.

         (b)    “Bankruptcy Court” means the United States Bankruptcy Court for the District of
                New Jersey.

         (c)    “Chapter 11 Cases” means the jointly administered chapter 11 cases captioned
                In re Rite Aid Corporation, et al., No. 23-18993 (MBK) (Bankr. D. N.J.).
                References to docket numbers in this Agreement refer to filings on the consolidated
                docket for the Chapter 11 Cases.

         (d)    “Covered Store” means any Group 2 Stores or Group 3 Stores for which
                Consultants provide Specified Inventory Services pursuant to this Agreement;
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             provided, however, that no Group 3 Store shall be a “Covered Store” unless (i) the
             Merchant provides express written notice of such designation to the Consultants
             pursuant to section 7(c) of this Agreement; or (ii) such Group 3 Store is deemed a
             “Covered Store” pursuant to section 7(c)(iv) of this Agreement.

       (e)   “DIP Agents” has the meaning ascribed to such term in Docket No. 1159.

       (f)   “DIP Documents” has the meaning ascribed to such term in Docket No. 1159.

       (g)   “DIP Shared Collateral” has the meaning ascribed to such term in
             Docket No. 1159.

       (h)   “Extended Group 3 Store” means, as of any date of determination, any
             Group 3 Store for which the corresponding Merchant Lease has a
             Section 365(d)(4) Outside Date of June 20, 2024 or later.

       (i)   “Fees & Expenses” means, collectively, the General Services Compensation,
             the Inventory Fee, the Consultant Incurred Expenses, and the FF&E Fee
             (each as defined herein).

       (j)   “FF&E” means all furniture, fixtures, and equipment owned by the Merchant.

       (k)   “General Services Term” means the period starting on the Agreement Effective
             Date and ending on the final Group 2 End Date.

       (l)   “Group 1 Sales” means all sales of Merchant-owned assets in connection with the
             closure of Group 1 Stores.

       (m)   “Group 1 Stores” means, collectively, each store that Merchant has designated as a
             “Group 1 Store” as of or after the Agreement Effective Date pursuant to section 7(c)
             of this Agreement.

       (n)   “Group 2 End Date” means the date falling forty-six calendar days after the
             Group 2 Start Date, or such later date as agreed to in writing by the Merchant
             (in consultation with the DIP Agents).

       (o)   “Group 2 Sales” means all sales of Merchant-owned assets in connection with the
             closure of Group 2 Stores.

       (p)   “Group 2 Start Date” means, as to each Group 2 Store, such date(s) as may be
             mutually agreed in writing by the Merchant (in consultation with the DIP Agents)
             and the Consultants, which may be on a rolling basis.

       (q)   “Group 2 Stores” means, collectively, each store and distribution center that
             Merchant has designated as a “Group 2 Store” as of or after the Agreement
             Effective Date pursuant to section 7(c) of this Agreement.
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       (r)    “Group 3 End Date” means, if applicable, the date falling sixty-seven calendar days
              after the Group 3 Start Date (if any), or such later date as agreed to in writing by
              the Merchant (in consultation with the DIP Agents).

       (s)    “Group 3 Sales” means, if applicable, all sales of Merchant-owned assets in
              connection with any closure of Group 3 Stores (if any).

       (t)    “Group 3 Start Date” means, if applicable, a date, after entry of the Approval Order,
              to be mutually agreed in writing by the Merchant (in consultation with the DIP
              Agents) and the Consultants; provided that, as to any Group 3 Store that is deemed
              a “Covered Store” pursuant to section 7(c)(iv) of this Agreement, the Group 3 Start
              Date for each such Group 3 Store shall be the date that such Group 3 Store is
              deemed a “Covered Store” under section 7(c)(iv) of this Agreement.

       (u)    “Group 3 Stores” means, collectively, each store and distribution center that
              Merchant has designated as a “Group 3 Store” as of or after the Agreement
              Effective Date pursuant to section 7(c) of this Agreement.

       (v)    “Inventory” means, as to any Merchant-operated store, all Merchant-owned
              inventory of such store, excluding (i) any Pharmacy Assets and (ii) any
              Additional Consultant Goods (as defined herein).

       (w)    “Merchant Lease” means any agreement under which Merchant occupies or uses a
              Group 1 Store, a Group 2 Store, or a Group 3 Store, excluding any such agreements
              rejected by Merchant in the Chapter 11 Cases.

       (x)    “Pharmacy Assets” means, as to any Merchant-operated store, the
              following Merchant-owned assets of such store: (i) all pharmacy inventory that is
              dispensed as a prescription behind the pharmacy counter; and (ii) any prescription
              files and all related records.

       (y)    “Plan/Sale Order” means an order of the Bankruptcy Court that (i) confirms an
              Acceptable Plan (as defined in the DIP Documents); or (ii) approves a
              Retail Business Sale (as defined in the DIP Documents).

       (z)    “Sales” means, collectively, (i) all Group 1 Sales, all Group 2 Sales, and any
              Group 3 Sales (if any); and (ii) to the extent any Additional Consultant Goods
              (as defined herein) are sold at any Covered Stores, such sales of Additional
              Consultant Goods.

       (aa)   “Sale Term” means (i) with respect to Group 2 Sales, the period between the
              Group 2 Start Date and the Group 2 End Date; and (ii) with respect to any Group 3
              Sales (if any), the period between the Group 3 Start Date and the Group 3 End Date.

       (bb)   “Section 365(d)(4) Outside Date” means, as of any date of determination, with
              respect to any unexpired Merchant Lease, the last day of the time period specified
              in 11 U.S.C. § 365(d)(4)(A)(i), as such time period may be extended by the
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              Bankruptcy Court or by written agreement with the lessor under such
              Merchant Lease.

       (cc)   “Services” means the services described in section 2 of this Agreement.

       (dd)   “Specified Inventory Services” means (i) any services described in sections 2(c)(i)
              through 2(c)(iii) of this Agreement, to the extent such services are provided
              (or to be provided) in connection with the monetization of Inventory in place; and
              (ii) any other Inventory Services incidental thereto.

       (ee)   “Supervisor” means a qualified supervisor engaged by SB360 or Hilco to provide
              Specified Inventory Services pursuant to this Agreement.

       (ff)   “Store Closing Order” means the order entered at Docket No. 709. The terms of
              the Store Closing Order are incorporated by reference herein.

  2.   Scope of Engagement.

       (a)    General Services. The Consultants shall provide the Merchant with the following
              services (collectively, the “General Services”) with respect to all Group 1 Stores
              and Group 1 Sales and all Group 2 Stores and Group 2 Sales, all subject to final
              Merchant approval and full Merchant discretion (in consultation with the
              DIP Agents):

              (i)     analyze the data and the operational plan resulting from the Group 1 Stores
                      that have been closed prior to the Agreement Effective Date;

              (ii)    advance planning for any additional store closings, including operational
                      preparation, marketing creative, initial discount cadence, system
                      implementation, assessing personnel and budget requirements;

              (iii)   prepare a monetization model for any additional store closings which can
                      be modified by the inclusion or deletion of stores and compare that model
                      with the Group 1 Stores that have been closed prior to the Agreement
                      Effective Date to project the differential monetary recovery;

              (iv)    provide analysis of any sale offers and impact to collateral value;

              (v)     coordinate weekly financial reporting package for the Merchant, its
                      advisors, the DIP Agents, and other constituents;

              (vi)    conduct weekly update calls with Merchant’s management and advisors, the
                      DIP Agents, and other applicable constituents;

              (vii) conduct site visits to closing stores (at Merchant’s election) to evaluate the
                    implementation of the store closing process and protocol and make
                    recommendations related to such implementation;
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             (viii) assist Merchant with marketing initiatives for relocating customers to
                    nearby store locations;

             (ix)   make recommendations to sell through merchandise to mitigate transfer of
                    back-end merchandise;

             (x)    make marketing recommendations which are subject to Merchant approval
                    to increase sell through and reoccurring traffic for prescription refills;

             (xi)   maintain the confidentiality of all proprietary or non-public information
                    regarding Merchant or the closing stores of which Consultants or their
                    respective representatives become aware, except for information that is
                    public as of the Agreement Effective Date or becomes public through no
                    fault of any Consultant; and

             (xii) such other services as are approved by the Merchant in writing and agreed
                   to by the Consultants.

       (b)   Compensation for General Services. For each month of the General Services Term,
             the Merchant shall pay the Consultants a monthly fee of $25,000 for the
             performance of the General Services and shall reimburse the Consultants for their
             reasonable, documented out-of-pocket expenses approved by Merchant
             that are incurred in connection with providing the General Services
             (collectively, the “General Services Compensation”), in each case, subject to
             section 3(c) of this Agreement. The Consultants shall provide Merchant with
             invoices for General Services Compensation on a monthly basis, and each such
             invoice shall be due and payable by the later of (i) the date that the Bankruptcy
             Court enters the Approval Order (as defined herein) and (ii) thirty days after the
             Merchant’s receipt of such invoice (subject to section 3(c) of this Agreement). In
             the event the General Services Term includes a partial month of service, the
             monthly fee for General Services shall be pro-rated accordingly.

       (c)   Inventory Services.       Subject to section 2(f) of this Agreement, the
             Consultants shall provide the Merchant with the following services
             (collectively, the “Inventory Services”) with respect to all Group 2 Sales and,
             at Merchant’s election, any Group 3 Sales (if any), all subject to final Merchant
             approval and full Merchant discretion and the consent of the DIP Agents:

             (i)    oversee the monetization and disposal of the Inventory from the closing
                    stores and coordinate with Merchant to maximize the sale of Inventory to
                    be shipped to/from the closing stores, including but not limited to providing
                    Supervisors;

             (ii)   recommend and implement appropriate point of purchase, point of sale and
                    external advertising (including signage) to effectively sell the Inventory
                    during the sale, consistent with the sale themes to be approved by Merchant
                    in consultation with the DIP Agents and recognizing the goal of maximizing
                    the value of the Pharmacy Assets;
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             (iii)   maximize the proceeds of the Inventory while protecting and promoting
                     Merchant’s trade name and goodwill in the marketplace;

             (iv)    coordinate with Merchant regarding an advertising and signage program to
                     direct customers to Merchant’s e-commerce and go-forward locations;

             (v)     coordinate accounting functions, including evaluation of sales of Inventory
                     by category, sales reporting and monitoring of the sale expenses using
                     Merchant’s IT systems, daily reporting to Merchant of sales and weekly
                     reporting and reconciliation of sale proceeds and sale expenses;

             (vi)    recommend appropriate staffing levels for closing stores
                     (including store employees) and appropriate bonus and incentive programs
                     for store employees;

             (vii) maintain the confidentiality of all proprietary or non-public information
                   regarding Merchant or the closing stores of which Consultants or their
                   respective representatives become aware, except for information that is
                   public as of the Agreement Effective Date or becomes public through no
                   fault of any Consultant;

             (viii) develop a sales plan to communicate to the DIP Agents and other
                    constituents and report budget to actuals on a weekly basis; and

             (ix)    conduct weekly update calls with Merchant’s management and advisors, the
                     DIP Agents, and other applicable constituents.

       (d)   Compensation for Inventory Services.

             (i)     As compensation for providing the Inventory Services, the Consultants shall
                     receive a commission equal to one-and-a-half percent (1.5%) of
                     Gross Proceeds (as defined below) from the sale of Inventory at each
                     Covered Store (the “Inventory Fee”), which shall be paid in accordance
                     with section 3 of this Agreement.

             (ii)    “Gross Proceeds” means the aggregate of (A) the total amount (in dollars)
                     of all sales of Inventory at the applicable Covered Store(s), in each case,
                     during the Sale Term for such Covered Store(s) and exclusive of sales taxes
                     (but inclusive of any amounts credited against the listed sale price of such
                     Inventory that are attributable to gift cards, coupons, and/or customer
                     rewards honored in connection with the sale of such Inventory); and (B) all
                     proceeds of Merchant’s insurance for loss of or damage to Inventory at each
                     applicable Covered Store arising from events occurring during the Sale
                     Term relating to such Inventory.

             (iii)   The Consultants and the Merchant shall agree on a pro forma budget of
                     Consultant Incurred Expenses (as defined herein) relating to each group of
                     Covered Stores that are designated to be closed (the “Budget”), which
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                    Budget shall be satisfactory to the DIP Agents. Merchant shall be
                    responsible for payment of Consultant Incurred Expenses to the
                    Consultants, which shall be paid in accordance with section 3 of this
                    Agreement.

                    (A)    “Consultant Incurred Expenses” means, as set forth in the Budget,
                           the aggregate amount of (I) Supervisor Costs (as defined herein),
                           (II) advertising expenses and (III) Consultants’ reasonable and
                           documented legal fees and expenses (limited to one external counsel
                           and one local counsel for all Consultants) incurred in connection
                           with (a) preparing this Agreement and obtaining the Approval
                           Order, (b) negotiating any “side letters” with landlords of the
                           applicable Covered Stores, or (c) enforcing the terms of this
                           Agreement. For the avoidance of doubt, any expenses related or
                           allocable to the sale of Additional Consultant Goods
                           (as defined herein) shall not constitute Consultant Incurred
                           Expenses.

                    (B)    “Supervisor Costs” means the following customary costs and
                           expenses incurred by Consultants with respect to Supervisors, in
                           each case, in accordance with the Budget: (I) the weekly
                           compensation paid during the applicable Sale Term per Supervisor
                           (which in each case represents Consultants’ actual costs);
                           (II) reasonable and documented travel expenses of the Supervisors
                           between Covered Stores during the applicable Sale Term and to and
                           from such Covered Stores at the commencement and conclusion of
                           the corresponding Sale (including reasonable travel to and from the
                           Supervisors’ homes at such times); and (III) Supervisor deferred
                           compensation as provided in the Budget.

       (e)   Disposition of FF&E.

             (i)    Subject to final Merchant approval, Consultants shall sell FF&E located at
                    the applicable Covered Stores during the applicable Sale Term. Consultants
                    shall provide supervision and shall procure other goods and services
                    necessary to sell such FF&E within and subject to a budget to be approved
                    by Merchant (with budgeted expenses to be funded with the proceeds
                    received from such FF&E sales). Consultants will conduct all such FF&E
                    sales in a manner designed to maximize the return to Merchant.

             (ii)   In consideration of such services, Consultants shall be paid a fee equal to
                    fifteen percent (15.0%) of the proceeds (net of sales tax) received from sales
                    of FF&E located at the applicable Covered Stores during the applicable Sale
                    Term (“FF&E Fee”), which fee shall be paid from the proceeds of such sales
                    in accordance with section 3 of this Agreement.
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       (f)   Additional Provisions Relating to Inventory Services.

             (i)    The provision of Specified Inventory Services in respect of any Group 2
                    Stores shall be determined upon the mutual written agreement of Merchant
                    and the DIP Agents (acting in good faith) based upon the Consultants’
                    recommendations to maximize the proceeds of the Inventory and other
                    DIP Shared Collateral (including Pharmacy Assets). Additionally, the
                    Consultants shall not be obligated to provide Specified Inventory Services
                    in respect of any Group 2 Stores unless and until the Approval Order is
                    entered by the Bankruptcy Court; provided that Merchant shall use
                    commercially reasonable best efforts to obtain entry of such Approval Order
                    reasonably promptly upon entry into this Agreement.

             (ii)   Except as provided in section 7(c)(iv) of this Agreement, the Consultants
                    shall not provide any Inventory Services in respect of any Group 3 Stores
                    absent the Merchant’s express written direction to provide such services.
                    Nothing in this Agreement requires the Merchant to (x) request or direct the
                    Consultants to provide any services in respect of any Group 3 Stores or
                    (y) take any action to close any Group 3 Stores or to undertake any
                    Group 3 Sales, provided that any Group 3 Store deemed a “Covered Store”
                    pursuant to section 7(c)(iv) of this Agreement shall be subject to
                    Group 3 Sales as and when required hereby. If the Merchant determines to
                    designate any Group 3 Stores as Covered Stores to be closed with the
                    Consultants’ assistance (or a Group 3 Store is deemed a “Covered Store”
                    pursuant to section 7(c)(iv) of this Agreement), such closures shall be
                    conducted in accordance with the terms of this Agreement and the Approval
                    Order and shall be subject to the further approval of the DIP Agents
                    (as provided in the DIP Documents), but shall not be subject any further
                    approval of the Bankruptcy Court.

       (g)   Additional Consultant Goods.

             (i)    Subject to Merchant’s and each DIP Agent’s prior written approval,
                    Consultants may, at Consultants’ sole cost and expense, supplement the
                    Inventory in the Covered Stores with additional goods procured by
                    Consultants which are of like kind, and no lesser quality to the Inventory in
                    the Covered Stores (such additional goods, “Additional Consultant Goods”).
                    The Additional Consultant Goods shall be purchased by Consultants and
                    delivered to the Covered Stores at Consultants’ sole expense (including as
                    to labor, freight and insurance relative to shipping such Additional
                    Consultant Goods to the Covered Stores). Sales of Additional Consultant
                    Goods shall be run through Merchant’s cash register systems; provided,
                    however, that Consultants shall mark the Additional Consultant Goods
                    using either a “dummy” SKU or department number, or in such other
                    manner so as to distinguish the sale of Additional Consultant Goods from
                    the sale of Inventory. Consultants and Merchant shall also cooperate so as
                    to ensure that the Additional Consultant Goods are marked in such a way
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                     that a reasonable consumer could identify the Additional Consultant Goods
                     as non-Merchant goods. Additionally, Consultants shall provide signage in
                     the Covered Stores notifying customers that the Additional Consultant
                     Goods have been included in the Covered Stores.

             (ii)    Merchant shall retain an amount equal to five percent (5%) percent of the
                     gross proceeds (excluding Sale Taxes) from the sale of the Additional
                     Consultant Goods (the “Additional Consultant Goods Fee”), and
                     Consultants shall be paid by Merchant all remaining amounts from the sale
                     of the Additional Consultant Goods in accordance with section 3 of this
                     Agreement.

             (iii)   Consultants and Merchant intend that any transactions relating to the
                     Additional Consultant Goods are, and shall be construed as, a true
                     consignment from Consultants to Merchant in all respects and not a
                     consignment for security purposes. Subject solely to Consultants’
                     obligations to pay to Merchant the Additional Consultant Goods Fee, at all
                     times and for all purposes the Additional Consultant Goods and their
                     identifiable proceeds shall be the exclusive property of Consultants, and no
                     other person or entity shall have any claim against any of the Additional
                     Consultant Goods or their identifiable proceeds. The Additional Consultant
                     Goods shall at all times remain subject to the exclusive control of
                     Consultants.

             (iv)    Merchant shall, at Consultants’ sole cost and expense, insure the Additional
                     Consultant Goods and, if required, promptly file any proofs of loss with
                     regard to same with Merchant’s insurers. Consultant shall be responsible
                     for payment of any deductible under any such insurance in the event of any
                     casualty affecting the Additional Consultant Goods.

             (v)     Merchant acknowledges, and the Approval Order shall provide, that the
                     Additional Consultant Goods shall be consigned to Merchant as a true
                     consignment under Article 9 of the Uniform Commercial
                     Code. Consultants are hereby granted a first priority security interest in and
                     lien upon (i) the Additional Consultant Goods and (ii) the identifiable
                     proceeds of the Additional Consultant Goods, which security interest and
                     lien shall be deemed perfected pursuant to the Approval Order without the
                     requirement of filing UCC financing statements or providing notifications
                     to any prior secured parties (provided that Consultants are hereby
                     authorized to deliver all required notices and file all necessary financing
                     statements and amendments thereof under the applicable Uniform
                     Commercial Code provisions identifying Consultants’ interest in the
                     Additional Consultant Goods as consigned goods thereunder and the
                     Merchant as the consignee therefor, and Consultants’ security interest in
                     and lien upon such Additional Consultant Goods and the identifiable
                     proceeds thereof).
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  3.   Accounting & Payment Matters.

       (a)   Weekly Reconciliations. The Merchant shall collect all proceeds from the Sales of
             Inventory and Additional Consultant Goods. The Merchant shall, upon request,
             deliver to Consultants account statements and such other information relating to the
             Sales reasonably requested by Consultants. On Wednesday of each week,
             commencing on the first Wednesday following the commencement of the Sale
             Term, the Merchant and the Consultants shall reconcile the results of the applicable
             Sales for the prior week, including, without limitation, the Fees & Expenses, and
             Merchant shall pay all amounts due to Consultants pursuant to this Agreement for
             such prior week within twenty-one days after the date of such reconciliation, subject
             to section 3(c) of this Agreement.

       (b)   Final Reconciliation. Subject to section 3(c) of this Agreement, the Parties shall
             complete a final reconciliation and settlement of all amounts payable to Consultants
             pursuant to this Agreement no later than forty-five (45) days following the end of
             the applicable Sale Term.

       (c)   Bankruptcy Court Authorization for Payments. Notwithstanding anything to the
             contrary in this Agreement, the Merchant shall not pay or reimburse any amounts
             to the Consultants under this Agreement unless and until the Approval Order is
             entered by the Bankruptcy Court.

  4.   Insurance.

       (a)   Merchant Insurance. Throughout the Sale Term, Merchant shall maintain casualty
             and liability insurance policies covering injuries to persons and property at or in
             connection with the applicable Covered Stores (including, but not limited to,
             products liability/completed operations, contractual liability, comprehensive public
             liability, and auto liability insurance) on an occurrence basis in an amount of at
             least $1,000,000 per occurrence and $2,000,000 in the aggregate and umbrella
             coverage of at least $5,000,000. Merchant shall cause Consultants to be named as
             additional insureds with respect to all such policies. Additionally, throughout the
             Sale Term, Merchant shall maintain, in such amounts as it currently has in effect,
             workers’ compensation insurance in compliance with all applicable statutory
             requirements. No later than the date that the Approval Order is entered, the
             Merchant shall provide Consultants with a certificate or certificates evidencing the
             insurance coverage required hereunder.

       (b)   Consultants Insurance. Throughout the Sale Term, the Consultants shall maintain
             (at the Consultants’ expense) casualty and liability insurance policies covering
             injuries to persons and property at or in connection with the Covered Stores
             (including, but not limited to, products liability/completed operations, contractual
             liability, comprehensive public liability, and auto liability insurance) on an
             occurrence basis in an amount of at least $1,000,000 per occurrence and $2,000,000
             in the aggregate and umbrella coverage of at least $5,000,000. The Consultants
             shall name Merchant as an additional insured and loss payee under each such
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             policy. No later than the date that the Approval Order is entered, Consultants shall
             provide Merchant with a certificate or certificates evidencing the insurance
             coverage required hereunder. Additionally, throughout the Sale Term, the
             Consultants shall maintain workers’ compensation insurance in compliance with
             all applicable statutory requirements. Further, if the Consultants employ or engage
             third parties to perform any of the Consultants’ undertakings with regard to this
             Agreement, the Consultants will ensure that such third parties are covered by the
             Consultants’ insurance or maintain all of the same insurance as the Consultants are
             required to maintain pursuant to this section 4(b) and name Merchant as an
             additional insured and loss payee under each policy for such insurance.

  5.   Representations & Warranties; Certain Covenants

       (a)   The Merchant warrants, represents, covenants and agrees that (i) Merchant is a
             Merchant duly organized, validly existing and in good standing under the laws of
             its state of organization, and maintains its principal executive office at the address
             set forth herein; and (ii) subject to any requisite Bankruptcy Court authorization(s),
             (A) Merchant has full power and authority to execute and deliver this Agreement
             and to perform its obligations hereunder and (B) the execution, delivery and
             performance of this Agreement has been duly authorized by all necessary actions
             of Merchant and this Agreement constitutes a valid and binding obligation of
             Merchant enforceable against Merchant in accordance with its terms and
             conditions, and the consent of no other entity or person is required for Merchant to
             fully perform all of its obligations herein.

       (b)   The Merchant shall provide such services as are reasonably necessary or
             appropriate for the Sales. Without limiting any other term or provision of this
             Agreement, during the Sale Term, Merchant shall provide Consultants with
             (i) employees at the applicable Covered Stores necessary or appropriate to
             implement and conduct the applicable Sales at such Covered Stores, and
             (ii) peaceful use and occupancy of, and reasonable access (including reasonable
             before and after-hours access and normal utilities/phone service) to, such
             Covered Stores.

       (c)   The Merchant shall prepare and process all reporting forms, certificates, reports,
             and other documentation required under applicable law in connection with taxation
             of or relating to the Sales. Consultants shall provide all assistance reasonably
             required or requested by Merchant in connection with the preparation and
             processing of any such reporting forms, certificates, reports, or other
             documentation.

       (d)   Each Consultant warrants, represents, covenants and agrees that (i) such Consultant
             is duly organized, validly existing and in good standing under the laws of its state
             of organization, with full power and authority to execute and deliver this Agreement
             and to perform its obligations hereunder, and maintains its principal executive
             office at the addresses set forth herein, and (ii) the execution, delivery and
             performance of this Agreement has been duly authorized by all necessary actions
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             of such Consultant and this Agreement constitutes a valid and binding obligation
             of such Consultant enforceable against such Consultant in accordance with its terms
             and conditions, and the consent of no other entity or person is required for such
             Consultant to fully perform all of its obligations herein.

  6.   Indemnification.

       (a)   Consultant Indemnification. Each Consultant shall indemnify, defend, and hold
             Merchant and its directors, officers, members, managers, partners, employees,
             attorneys, advisors, representatives, lenders, principals, and affiliates (other than
             such Consultant or its Consultant Indemnified Parties (as defined herein))
             (collectively, “Merchant Indemnified Parties”) harmless from and
             against all liabilities, claims, demands, damages, costs and expenses
             (including reasonable attorneys’ fees) arising from or related to (i) the willful or
             negligent acts or omissions of such Consultant or such Consultant Indemnified
             Parties; (ii) such Consultant’s breach of any provision of, or the failure to perform
             any obligation under, this Agreement; (iii) any liability or other claims made by
             such Consultant Indemnified Parties or any other person (excluding Merchant
             Indemnified Parties) against a Merchant Indemnified Party arising out of or related
             to such Consultant’s conduct of the Sales or provision of Services, except claims
             arising from Merchant’s negligence, willful misconduct, or unlawful behavior;
             (iv) any harassment, discrimination, or violation of any laws or regulations or any
             other unlawful, tortious, or otherwise actionable treatment of any Merchant
             Indemnified Parties, or of Merchant’s customers, by such Consultant or any of such
             Consultant Indemnified Parties; and (v) any claims made by any party engaged by
             such Consultant as an employee, agent, representative or independent contractor
             arising out of such engagement.

       (b)   Merchant Indemnification. Merchant shall indemnify and hold Consultant and its
             officers, directors, principals, shareholders, affiliates, members, consultants,
             advisors, and employees (collectively, “Consultant Indemnified Parties”) harmless
             from and against all losses, liabilities, claims, demands, damages, costs and
             expenses (including reasonable attorneys’ fees) arising from or related to: (i) the
             negligence, intentional or unlawful acts or omissions of the Merchant or his
             consultants, advisors, employees, representatives and principals (other than
             Consultant Indemnified Parties); (ii) Merchant’s breach of any provision of, or the
             failure to perform any obligation under this Agreement; (iii) Merchant’s failure to
             (A) timely pay any taxes required under applicable law to be paid by Merchant in
             connection with the Services and/or Sales at Covered Stores or (B) timely file with
             the requisite taxing authorities all related reports and other documents required by
             applicable law to be filed with or delivered to such taxing authorities; (iv) any
             harassment, discrimination, or violation of any laws or regulations or any other
             unlawful, tortious, or otherwise actionable treatment of either Consultant or the
             Consultant Indemnified Parties by Merchant or any Merchant Indemnified Parties;
             and (v) any consumer warranty or products liability claims relating to any
             Merchant-owned assets sold pursuant to sections 2(c) or 2(e) of this Agreement.
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  7.   Other Provisions.

       (a)   Approval Order. The Merchant shall prepare and file a motion pursuant to
             11 U.S.C. § 363 (the “Motion”) seeking the entry of an order, in form and substance
             reasonably acceptable to Consultants, authorizing the Merchant’s entry into and
             performance under this Agreement (such order, the “Approval Order”). Prior to
             filing the Motion, the Merchant shall share the Motion, Approval Order, and all
             related documents with Consultants and the DIP Agents. If the Motion is denied
             or the Approval Order is not entered, this Agreement is null and void. The
             Merchant shall use the Merchant’s reasonable best efforts to ensure that the
             Approval Order shall specifically provide for, among other things, the following:
             (i) payment of the Fees and Expenses without further order of the Bankruptcy Court
             and otherwise in accordance with this Agreement; (ii) approval of the transactions
             contemplated hereby (to the extent not approved by a separate order of the
             Bankruptcy Court); (iii) the Consultants’ right to abandon any unsold items,
             (iv) approval of the sale of Additional Consultant Goods as provided herein, and
             (v) authority to take all further actions as are necessary or appropriate to carry out
             the terms and conditions of this Agreement.

       (b)   Periodic Status Updates. Consultants shall provide the Merchant, its advisors, the
             DIP Agents and their advisors, and any other constituents requested by Merchant,
             with periodic updates regarding the Sales.

       (c)   Store Designations.

              (i)     Subject to section 7(c)(iv) of this Agreement, any time on or after the
                      Agreement Effective Date, the Merchant may designate any
                      Merchant-operated store or distribution center (a “Store”) as a
                      “Group 1 Store,” a “Group 2 Store,” or a “Group 3 Store” under
                      this Agreement by providing a written notice of such designation
                      to the Consultants in accordance with section 7(i) and the other terms of this
                      Agreement, in each case, subject to the consent of the DIP Agents. The
                      initial “Group 1 Stores,” “Group 2 Stores,” or “Group 3 Stores” as of the
                      Agreement Effective Date shall be as separately agreed to by the
                      Consultants, Merchant, and the DIP Agents.

              (ii)    Subject to section 7(c)(iv) of this Agreement, at any time on or after the
                      Agreement Effective Date, the Merchant may designate any Group 2 Store
                      or Group 3 Store as a “Covered Store” under this Agreement by providing
                      a written notice of such designation to the Consultants in accordance with
                      section 7(i) of this Agreement, in each case, subject to the consent of the
                      DIP Agents. The initial “Covered Stores” as of the Agreement Effective
                      Date shall be as separately agreed to by the Consultants, Merchant, and the
                      DIP Agents.

              (iii)   [Reserved].
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             (iv)   A store that is designated as a Group 2 Store or Group 3 Store as of the
                    Agreement Effective Date shall not be subsequently re-designated as a
                    Group 1 Store without the prior written consent of the Consultants. To the
                    extent that Merchant (with the consent of the DIP Agents) re-designates a
                    Group 3 Store as a Group 2 Store after the Agreement Effective Date, such
                    store or distribution center shall be deemed a “Covered Store” under this
                    Agreement effective as of the date of such re-designation. If the Bankruptcy
                    Court has not entered a Plan/Sale Order by March 18, 2024, then each
                    Group 3 Store that is not an Extended Group 3 Store as of such date shall
                    be deemed a “Covered Store” under this Agreement effective as of
                    March 19, 2024, unless the Debtors (with the consent of the DIP Agents)
                    notify the Consultants otherwise in writing.

       (d)   The Merchant and its advisors shall (i) keep the Consultants apprised of
             developments regarding Extended Group 3 Stores (including the identification and
             population thereof); and (ii) coordinate with the Consultants on logistical matters
             relating to the deemed designation of Group 3 Stores as “Covered Stores” pursuant
             to section 7(c)(iv) of this Agreement.

       (e)   The Consultants shall procure (at the sole cost and expense of the Merchant) all
             necessary point of purchase, point of sale and external advertising (including
             signage) to effectively sell the Inventory during any prospective Sale, consistent
             with the sale themes to be approved by Merchant and the DIP Agents
             (the “Advertising Materials”). The Consultants shall so procure the Advertising
             Materials no later than such date as separately agreed to by Merchant, the
             Consultants, and the DIP Agents. All Advertising Materials shall remain the
             property of the Merchant.

       (f)   During the performance of the Inventory Services, to the extent requested by
             Merchant, each Consultant will use good faith efforts to formulate a proposal to
             monetize the Inventory in additional stores for a guaranteed return which, if
             accepted by Merchant, will form the basis of an agency agreement between
             Merchant and the Consultants. Any such agency agreement will be subject to the
             approval of the Bankruptcy Court and the DIP Agents and contain the customary
             terms and conditions for such an agreement.

       (g)   Termination. The Merchant shall (in consultation with the DIP Agents) have the
             right to terminate this Agreement for cause upon written notice to the Consultants,
             and the Consultants shall have the right to terminate this agreement for cause upon
             written notice to the Merchant. Termination for cause shall mean any termination as
             a result of a Party’s fraud, misrepresentation, gross negligence, willful misconduct or
             material breach of any of the terms of this Agreement. Upon termination of this
             Agreement, Consultants shall: (i) immediately discontinue all Services; and
             (ii) deliver to the Merchant all information, reports, papers, and other materials
             prepared or obtained by Consultants in performing the Services, whether completed
             or in process. Upon termination of this Agreement, the Merchant shall be liable for
             payment of all accrued and unpaid Fees & Expenses of Consultants as of the effective
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             date of the termination. Notwithstanding any of the foregoing, the provisions of
             section 6 of this Agreement shall survive any termination of this Agreement.

       (h)   Consultants Not Liable for Employee Wages/Benefits. The Parties expressly
             acknowledge and agree that Consultants shall have no liability to the Merchant or
             to any employee of Merchant for wages, benefits, severance pay, termination pay,
             vacation pay, pay in lieu of notice of termination or any other liability arising from
             the Merchant’s employment, hiring, or retention of its employees, and such
             employees shall not be considered employees of Consultants.

       (i)   Notice. Any correspondence and any notice required or permitted to be given under
             this Agreement shall be addressed as follows and shall be deemed given on the
             same date on which it is sent if sent by email.

                     If to Consultants:     SB360 Capital Partners, LLC
                                            75 Second Avenue
                                            Needham, MA 02494
                                            Attn: Aaron S. Miller, President
                                            Email: amiller@sb360.com
                                            - and -
                                            Hilco Merchant Resources, LLC
                                            5 Revere Drive, Suite 206
                                            Northbrook, IL 60062
                                            Attn: Ian Fredericks, President
                                            Email: ifredericks@hilcoglobal.com

                     With a copy to:        Leichtman Law PLLC
                                            185 Madison Avenue - 15th Floor
                                            New York, NY 10016
                                            Attn: Maura I. Russell
                                            Email: mrussell@leichtmanlaw.com
                                            - and -
                                            Lowenstein Sandler LLP
                                            One Lowenstein Parkway
                                            Roseland, NJ 07068
                                            Attn: Jeffrey Cohen and Andrew Behlmann
                                            Email: jcohen@lowenstein.com;
                                                   abehlmann@lowenstein.com

                     If to the Merchant:    Rite Aid Hdqtrs. Corp.
                                            1200 Intrepid Avenue, 2nd Floor
                                            Philadelphia, PA 19912
                                            Attn: Steve Bixler
                                            Email: sbixler@riteaid.com
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                     With a copy to:        Kirkland & Ellis LLP
                                            601 Lexington Avenue
                                            New York, NY 10022
                                            Attn: Aparna Yenamandra, P.C., Zach Manning,
                                            and Ross Fiedler
                                            Email: aparna.yenamandra@kirkland.com;
                                            zach.manning@kirkland.com;
                                            ross.fiedler@kirkland.com

       (j)   Exclusivity. The Consultants shall be the exclusive liquidator with respect to the
             Group 2 Stores and the Group 2 Sales. Additionally, if the Merchant determines to
             have Consultants provide Inventory Services with respect to any Group 3 Sales
             (if any), the Consultants shall be the exclusive liquidator with respect to such
             Group 3 Sales. Subject to section 3(c) of this Agreement, if the Merchant
             undertakes Group 3 Sales but elects not to have the Consultants provide services
             with respect thereto, then Merchant shall pay $500,000 to Consultants within five
             business days after commencing Group 3 Sales, with such payment to be funded
             solely with funds that constitute DIP Shared Collateral.

       (k)   Construction. This Agreement shall be deemed drafted by each Party hereto, and
             there shall be no presumption against either Party in the interpretation of this
             Agreement. By executing this Agreement, the Merchant and each Consultant
             acknowledges and represent that it is represented by and has consulted with
             independent legal counsel with respect to the terms and conditions contained
             herein. All headings and captions in this Agreement are for convenience only and
             shall not be interpreted to enlarge or restrict the provisions of this Agreement.

       (l)   Independent Contractor. Consultants will be providing the Services to the
             Merchant as independent contractors. For greater certainty, this Agreement does
             not create any relationship of employer and employee, or of joint ventures between
             the Merchant and Consultants.

       (m)   Severability. The invalidity or unenforceability of any provision of this Agreement
             shall not affect the validity or enforceability of any other provisions of this
             Agreement, which shall remain in full force and effect, and the invalid or
             unenforceable provision shall be reformed to the minimum extent required to render
             it valid and enforceable and to effectuate the intent of this Agreement.

       (n)   Assignment. Neither this Agreement nor any of the rights hereunder may be
             transferred or assigned by either party hereto without the prior written consent of
             the other party. This Agreement, including, without limitation, the obligation of the
             Merchant to compensate Consultants for the Services, shall be binding upon and
             inure to the benefit of the Parties hereto and their respective heirs, legal
             representatives, successors and permitted assigns. Notwithstanding the foregoing,
             Consultants are authorized to form a contractual joint venture with other national
             liquidators approved by Merchant and the DIP Agents to perform the Services
             hereunder, provided that the Consultants remain the lead in such joint venture.
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       (o)   Modifications. No modification, amendment, or waiver of any of the provisions
             contained in this Agreement, or any future representation, promise, or condition in
             connection with the subject matter of this Agreement, shall be binding upon any
             Party to this Agreement unless made in writing and signed by a duly authorized
             representative or agent of such Party. The failure by a Party to enforce, or the delay
             by a Party in enforcing, any of said party’s rights under this Agreement shall not be
             construed as a continuing waiver of such rights, and said Party may, within such
             time as is provided by applicable law, commence suits, actions, or proceedings to
             enforce any or all of such rights. A waiver by a Party of a default in one or more
             instances shall not be construed as a waiver in other instances.

       (p)   Entire Agreement. This Agreement, together with all exhibits attached hereto,
             constitutes a single, integrated written contract expressing the entire agreement of
             the Parties concerning the subject matter hereof. No covenants, agreements,
             representations or warranties of any kind whatsoever have been made by any Party
             to this Agreement except as specifically set forth in this Agreement. All prior
             agreements, discussions, and negotiations are entirely superseded by this
             Agreement.

       (q)   Governing Law. This Agreement shall be governed by and construed in accordance
             with the internal laws of Delaware without reference or regard to choice of law
             provisions. THE PARTIES WAIVE ANY RIGHT TO TRIAL BY JURY WITH
             RESPECT TO ANY CLAIM OR PROCEEDING RELATED TO OR ARISING
             OUT OF THE SERVICES, ANY TRANSACTION, OR CONDUCT IN
             CONNECTION THEREWITH OR THIS AGREEMENT.

                              [Signatures on the following page]
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                   IN WITNESS WHEREOF, the Merchant and the Consultants have executed and delivered
            this Agreement as of the Agreement Effective Date.


              RITE AID HDQTRS. CORP.,                           SB360 CAPITAL PARTNERS, LLC
              on behalf of itself and its affiliates that are
              debtors in the Chapter 11 Cases                   By:      ______________________________

              By:     ______________________________            Title: President

              Title: SVP and Chief Accounting Officer
                                                                HILCO MERCHANT RESOURCES, LLC

                                                                By:      ______________________________

                                                                Title:
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        IN WITNESS WHEREOF, the Merchant and the Consultants have executed and delivered
 this Agreement as of the Agreement Effective Date.


  RITE AID HDQTRS. CORP.,                           SB360 CAPITAL PARTNERS, LLC
  on behalf of itself and its affiliates that are
  debtors in the Chapter 11 Cases                   By:      ______________________________

  By:     ______________________________            Title: President

  Title: SVP and Chief Accounting Officer
                                                    HILCO MERCHANT RESOURCES, LLC

                                                    By:      ______________________________

                                                    Title:   EVP Commercial Counsel
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                                    Schedule 2

                               Initial Closing Stores
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No.        Store No.               Property Address             City           State      Zip Code
       1            213 2715 PARADE STREET              ERIE              PA           16504
       2            225 5612 N. FIFTH STREET            PHILADELPHIA      PA           19120
       3            365 728 EAST PULASKI HIGHWAY        ELKTON            MD           21921
       4            374 5624 BALTIMORE NATIONAL PK      BALTIMORE         MD           21228
       5            385 5804 RITCHIE HIGHWAY            BALTIMORE         MD           21225
       6            443 350 MAIN STREET                 PENNSBURG         PA           18073
       7            553 4011 COTTMAN AVENUE             PHILADELPHIA      PA           19135
       8            558 1441 OLD YORK ROAD              ABINGTON          PA           19001
       9            761 2887 HARLEM ROAD                CHEEKTOWAGA       NY           14225
      10            803 300 MARKET STREET               JOHNSTOWN         PA           15901
      11            850 8716 NEW FALLS ROAD             LEVITTOWN         PA           19054
      12            852 11750 BUSTLETON AVENUE          PHILADELPHIA      PA           19116
      13            857 169 WEST LANCASTER AVENUE       ARDMORE           PA           19003
      14          1070 420 DANIEL WEBSTER HIGHWAY       MERRIMACK         NH           03054
      15          1288 1315 EAST WASHINGTON LANE        PHILADELPHIA      PA           19138
      16          1524 924 WEST MAIN STREET             FREMONT           MI           49412
      17          1527 507 N LAFAYETTE STREET           GREENVILLE        MI           48838
      18          1530 715 SOUTH CLINTON STREET         GRAND LEDGE       MI           48837
      19          1685 801 WYOMING AVENUE STE 9         WEST PITTSTON     PA           18643
      20          1704 657 HEACOCK ROAD                 YARDLEY           PA           19067
      21          1767 2801 W. DAUPHIN STREET           PHILADELPHIA      PA           19132
      22          1796 4057 ASBURY AVE STE 8            TINTON FALLS      NJ           07753
      23          1854 1709 LIBERTY STREET              ERIE              PA           16502
      24          1859 7501 RITCHIE HIGHWAY             GLEN BURNIE       MD           21061
      25          1955 674 ROUTE 196, STE 14            TOBYHANNA         PA           18466
      26          1970 431 HALEDON AVENUE               HALEDON           NJ           07508
      27          1977 35 MILL ROAD                     IRVINGTON         NJ           07111
      28          2264 2722 WEST 9TH STREET             CHESTER           PA           19013
      29          2390 3129 LINCOLN WAY EAST            MASSILLON         OH           44646
      30          2442 950 EAST BALTIMORE PIKE          YEADON            PA           19050
      31          2521 1636 ROUTE 38 SUITE 49           LUMBERTON         NJ           08048
      32          2629 120 SOUTH MAIN STREET            NEW CARLISLE      OH           45344
      33          2709 8235 STENTON AVENUE              PHILADELPHIA      PA           19150
      34          3084 146 WOODMAN DRIVE                DAYTON            OH           45431
      35          3117 2701 MARKET STREET               YOUNGSTOWN        OH           44507
      36          3247 401 WEST NORTH STREET            SPRINGFIELD       OH           45504
      37          3377 7941 OXFORD AVENUE               PHILADELPHIA      PA           19111
      38          3457 136 NORTH 63RD STREET            PHILADELPHIA      PA           19139
      39          3477 773 HAMILTON STREET              SOMERSET          NJ           08873
      40          3681 5440 LANSDOWNE AVENUE            PHILADELPHIA      PA           19131
      41          3781 7967 BALTIMORE ANNAPOLIS BLVD    GLEN BURNIE       MD           21060
      42          3880 15250 24 MILE ROAD               MACOMB            MI           48042
      43          3958 2002 AVENUE U                    BROOKLYN          NY           11229
      44          4045 1434 S BLACK HORSE PIKE          WILLIAMSTOWN      NJ           08094
      45          4234 102 NORTH CENTERVILLE ROAD       STURGIS           MI           49091
      46          4300 47300 PONTIAC TRAIL              WIXOM             MI           48393
      47          4318 35250 SOUTH GRATIOT AVENUE       CLINTON TWP.      MI           48035
      48          4321 51037 VAN DYKE AVENUE            SHELBY TOWNSHIP   MI           48316
      49          4350 3100 EAST MICHIGAN AVENUE        JACKSON           MI           49202
      50          4366 9155 TELEGRAPH ROAD              TAYLOR            MI           48180
      51          4407 1243 U.S. 31 SOUTH               MANISTEE          MI           49660
      52          4466 29447 FORD ROAD                  GARDEN CITY       MI           48135



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No.     Store No.             Property Address              City            State      Zip Code
   53          4504 2838 EAST COURT STREET          FLINT              MI           48506
   54          4526 1900 EAST 8 MILE ROAD           DETROIT            MI           48234
   55          4537 36485 GARFIELD ROAD             CLINTON TWP.       MI           48035
   56          4548 25922 MIDDLEBELT ROAD           FARMINGTON HILLS   MI           48336
   57          4552 2 WHITNEY AVENUE                FLORAL PARK        NY           11001
   58          4577 109 NORTH WHITTEMORE STREET     ST. JOHNS          MI           48879
   59          4616 208 EAST CENTRAL AVENUE         TITUSVILLE         PA           16354
   60          4706 833 NORTH BATTLEFIELD BLVD      CHESAPEAKE         VA           23320
   61          4761 1124 NORTH BALLENGER HWY.       FLINT              MI           48504
   62          4767 230 SOUTH MAIN STREET           BELLEFONTAINE      OH           43311
   63          4770 2701 SOUTH CEDAR STREET         LANSING            MI           48910
   64          4868 71-18 KISSENA BOULEVARD         FLUSHING           NY           11367
   65          4981 3131 HEMPSTEAD TURNPIKE         LEVITTOWN          NY           11756
   66          5201 601 SOUTH GRADY WAY,STE.P       RENTON             WA           98057
   67          5204 3202 132ND STREET, S.E.         MILL CREEK         WA           98012
   68          5227 110 SW 148TH STREET             BURIEN             WA           98166
   69          5231 10103 EVERGREEN WAY             EVERETT            WA           98204
   70          5280 8230 MARTIN WAY EAST            LACEY              WA           98516
   71          5347 2440 SE CESAR E CHAVEZ BLVD     PORTLAND           OR           97214
   72          5412 1600 NORTH MAIN STREET          MERIDIAN           ID           83642
   73          5417 5005 WEST OVERLAND ROAD         BOISE              ID           83705
   74          5448 4044 EAGLE ROCK BOULEVARD       LOS ANGELES        CA           90065
   75          5457 4046 SOUTH CENTINELA AVENUE     LOS ANGELES        CA           90066
   76          5466 7859 FIRESTONE BOULEVARD        DOWNEY             CA           90241
   77          5521 4402 ATLANTIC AVENUE            LONG BEACH         CA           90807
   78          5571 935 NORTH HOLLYWOOD WAY         BURBANK            CA           91505
   79          5585 139 NORTH GRAND AVENUE          COVINA             CA           91724
   80          5593 13905 AMAR ROAD                 LA PUENTE          CA           91746
   81          5611 920 EAST VALLEY BOULEVARD       ALHAMBRA           CA           91801
   82          5635 3813 PLAZA DRIVE                OCEANSIDE          CA           92056
   83          5638 1670 MAIN STREET                RAMONA             CA           92065
   84          5657 6505 MISSION GORGE ROAD         SAN DIEGO          CA           92120
   85          5661 8985 MIRA MESA BOULEVARD        SAN DIEGO          CA           92126
   86          5730 25906 NEWPORT ROAD              MENIFEE            CA           92584
   87          5735 24829 DEL PRADO                 DANA POINT         CA           92629
   88          5753 30222 CROWN VALLEY PARKWAY      LAGUNA NIGUEL      CA           92677
   89          5757 19701 YORBA LINDA BOULEVARD     YORBA LINDA        CA           92886
   90          5760 1406 WEST EDINGER AVENUE        SANTA ANA          CA           92704
   91          5772 2738 EAST THOMPSON BLVD.        VENTURA            CA           93003
   92          5780 720 NORTH VENTURA ROAD          OXNARD             CA           93030
   93          5967 20572 HOMESTEAD ROAD            CUPERTINO          CA           95014
   94          5976 2620 EL CAMINO REAL             SANTA CLARA        CA           95051
   95          5979 901 SOQUEL AVENUE               SANTA CRUZ         CA           95062
   96          6001 571 BELLEVUE ROAD               ATWATER            CA           95301
   97          6045 5409 SUNRISE BOULEVARD          CITRUS HEIGHTS     CA           95610
   98          6080 1309 FULTON AVENUE              SACRAMENTO         CA           95825
   99          6213 3029 HARBOR BOULEVARD           COSTA MESA         CA           92626
  100          6288 959 CRENSHAW BOULEVARD          LOS ANGELES        CA           90019
  101          6318 3000 SOUTH ARCHIBALD AVENUE     ONTARIO            CA           91761
  102          6333 15800 IMPERIAL HIGHWAY          LA MIRADA          CA           90638
  103          6521 22201 MERIDIAN AVENUE E         GRAHAM             WA           98338
  104          6717 8509 IRVINE CENTER DRIVE        IRVINE             CA           92618



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No.      Store No.               Property Address               City             State      Zip Code
   105           6769 499 ALVARADO STREET              MONTEREY             CA           93940
   106           6908 9600 15TH AVE SW                 SEATTLE              WA           98106
   107           6915 2518 196TH ST SW                 LYNNWOOD             WA           98036
   108           6920 3620 FACTORIA BLVD SE            BELLEVUE             WA           98006
   109           6927 11919 NE 8TH STREET              BELLEVUE             WA           98005
   110           6952 7370 170TH AVE NE                REDMOND              WA           98052
   111           7827 1080 S WEST END BLVD             QUAKERTOWN           PA           18951
   112          10092 80 EAST MAIN STREET              WEBSTER              MA           01570
   113          10382 289 GREENWOOD AVE.               BETHEL               CT           06801
   114          10415 3 MARSHALL HILL ROAD             WEST MILFORD         NJ           07480
   115          10449 210 BRIDGETON PIKE               MANTUA               NJ           08051
   116          10456 108 SWEDESBORO ROAD SUITE 20     MULLICA HILL         NJ           08062
   117          10505 2370 ROUTE 33                    ROBBINSVILLE         NJ           08691
   118          10514 1726 ROUTE 37 EAST               TOMS RIVER           NJ           08753
   119          10517 86 B LACEY ROAD                  WHITING              NJ           08759
   120          10586 2981 OCEAN AVENUE                BROOKLYN             NY           11235
   121          10619 3199 LONG BEACH ROAD             OCEANSIDE            NY           11572
   122          10620 198 WEST MERRICK ROAD            VALLEY STREAM        NY           11580
   123          10626 836 SUNRISE HIGHWAY              BAY SHORE            NY           11706
   124          10628 2784 SUNRISE HIGHWAY             BELLMORE             NY           11710
   125          10633 901 MERRICK ROAD                 COPIAGUE             NY           11726
   126          10635 577 LARKFIELD ROAD               EAST NORTHPORT       NY           11731
   127          10642 695 EAST JERICHO TURNPIKE        HUNTINGTON STATION   NY           11746
   128          10650 700-43 PATCHOGUE-YAPHANK ROAD    MEDFORD              NY           11763
   129          10655 273 PINE HOLLOW ROAD             OYSTER BAY           NY           11771
   130          10657 397 SUNRISE HIGHWAY              WEST PATCHOGUE       NY           11772
   131          10658 593 OLD TOWN RD.                 PORT JEFF STATION    NY           11776
   132          10663 65 ROUTE 111                     SMITHTOWN            NY           11787
   133          10828 2453 ELMWOOD AVENUE              KENMORE              NY           14217
   134          10868 1567 PENFIELD ROAD               ROCHESTER            NY           14625
   135          10900 700 STEVENSON BLVD.              NEW KENSINGTON       PA           15068
   136          10901 351 BRIGHTON AVENUE              ROCHESTER            PA           15074
   137          10906 5235 LIBRARY ROAD                BETHEL PARK          PA           15102
   138          10908 5990 UNIVERSITY BLVD STE30       MOON TOWNSHIP        PA           15108
   139          10943 2501 SAW MILL RUN BLVD           PITTSBURGH           PA           15234
   140          10949 5410 KEEPORT DRIVE               PITTSBURGH           PA           15236
   141          10967 6090 ROUTE 30                    GREENSBURG           PA           15601
   142          10974 4830 WILLIAM PENN HIGHWAY        EXPORT               PA           15632
   143          10991 1730 WILMINGTON ROAD             NEW CASTLE           PA           16105
   144          11042 2178 W. UNION BLVD.              BETHLEHEM            PA           18018
   145          11053 1628 SOUTH FOURTH STREET         ALLENTOWN            PA           18103
   146          11134 2401 EAST VENANGO STREET         PHILADELPHIA         PA           19134
   147          11135 6327-43 TORRESDALE AVENUE        PHILADELPHIA         PA           19135
   148          11160 200 W. RIDGE AVENUE STE 112      CONSHOHOCKEN         PA           19428
   149          11182 25 CHESTNUT HILL PLAZA           NEWARK               DE           19713
   150          11188 3209 KIRKWOOD HIGHWAY            WILMINGTON           DE           19808
   151          11208 5 BEL AIR SOUTH PKY, SUITE1347   BEL AIR              MD           21015
   152          11255 1458 MOUNT PLEASANT ROAD         CHESAPEAKE           VA           23322
   153          12999 301 EISENHOWER DRIVE             HANOVER              PA           17331
   154          17783 7036 WERTZVILLE ROAD             MECHANICSBURG        PA           17050




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                                   Schedule 3

                                 Sale Guidelines
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                                                 Sale Guidelines1

 1.       The Sales shall be conducted so that the Closing Stores in which sales are to occur will
          remain open no longer than during the normal hours of operation or such hours as otherwise
          provided for in the respective leases for the Closing Stores.

 2.       The Sales shall be conducted in accordance with applicable state and local “Blue Laws,”
          where applicable, so that no Sale shall be conducted on Sunday unless the Debtors had
          been operating such Closing Store on a Sunday prior to the commencement of the Sales.

 3.       On “shopping center” property, neither the Debtors nor the Consultants shall distribute
          handbills, leaflets or other written materials to customers outside of any Closing Stores’
          premises, unless permitted by the lease or if distribution is customary in the “shopping
          center” in which such Closing Store is located; provided that the Debtors and/or the
          Consultants, as applicable, may solicit customers in the Closing Stores themselves. On
          “shopping center” property, neither the Debtors nor the Consultants shall use any flashing
          lights or amplified sound to advertise the Sales or solicit customers, except as permitted
          under the applicable lease or agreed to by the landlord.

 4.       At the conclusion of the Sale, the Debtors (and the Consultants, if applicable) shall vacate
          the Closing Stores; provided that the Debtors (and the Consultants, if applicable) may
          abandon any Non-Prescription Assets not sold in the Sales at the conclusion of the Sales
          (the “Termination Date”), without cost or liability of any kind to the Debtors or the
          Consultants. The Debtors (or the Consultants, if applicable) shall notify counsel to the
          DIP Agents, the advisors to the Ad Hoc Secured Noteholder Group, and the applicable
          landlord of their intention to abandon any Non-Prescription Assets at least two (2) days
          prior to the Termination Date. The Debtors (or the Consultants, if applicable) will have the
          option to remove the Non-Prescription Assets, at their own cost, prior to the Termination
          Date. Any abandoned Non-Prescription Assets left in a Closing Store after a lease is
          rejected shall be deemed abandoned to the landlord having a right to dispose of the same
          as the landlord chooses without any liability whatsoever on the part of the landlord to any
          party and without waiver of any damage claims against the Debtors. For the avoidance of
          doubt, as of the Termination Date, the Debtors (and the Consultants, if applicable) may
          abandon, in place and without further responsibility or liability of any kind, any
          Non-Prescription Assets.

 5.       The Debtors and the Consultants may advertise the Sales as “store closing”, “sale on
          everything”, “everything must go”, “everything on sale”, “going-out-of-business” or
          similar-themed sales. The Debtors may also have a “countdown to closing” sign
          prominently displayed in a manner consistent with these Sale Guidelines. All signs,
          banners, ads and other advertising material, promotions, and campaigns will be approved
          by the Debtors, prior to purchase, in accordance with these Sale Guidelines.



 1
      Capitalized terms used but not defined in these sale guidelines (these “Sale Guidelines”) have the meanings given
      to them in the order to which these Sale Guidelines are attached (the “Order”).
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 6.    The Debtors and the Consultants shall be permitted to utilize sign-walkers, display,
       hanging signs, and interior banners in connection with the Sales; provided that such sign
       walkers, display, hanging signs, and interior banners shall be professionally produced and
       hung in a professional manner. Neither the Debtors nor the Consultants shall use neon or
       day-glo on their sign walkers, display, hanging signs, or interior banners. Furthermore,
       with respect to enclosed mall locations, no exterior signs or signs in common areas of a
       mall shall be used unless otherwise expressly permitted in these Sale Guidelines. In
       addition, the Debtors and the Consultants shall be permitted to utilize exterior banners at
       (a) non-enclosed mall Closing Stores and (b) enclosed mall Closing Stores to the extent the
       entrance to the applicable Closing Store does not require entry into the enclosed mall
       common area; provided, however, that such banners shall be located or hung so as to make
       clear that the Sales are being conducted only at the affected Closing Store, and shall not be
       wider than the storefront of the Closing Store. In addition, the Debtors and the Consultants
       shall be permitted to utilize sign walkers in a safe and professional manner and in
       accordance with the terms of the Order. Nothing contained in these Sale Guidelines shall
       be construed to create or impose upon the Debtors (or the Consultants) any additional
       restrictions not contained in the applicable lease agreement.

 7.    Conspicuous signs shall be posted in the cash register areas of each of the affected Closing
       Stores to the effect that “all sales are final.”

 8.    Except with respect to the hanging of exterior banners, neither the Debtors nor the
       Consultants shall make any alterations to the storefront or exterior walls of any Closing
       Stores, except as authorized by the applicable lease.

 9.    Neither the Debtors nor the Consultants shall make any alterations to interior or exterior
       Closing Store lighting, except as authorized by the applicable lease. No property of the
       landlord of a Closing Store shall be removed or sold during the Sales. The hanging of
       exterior banners or in-Closing Store signage and banners shall not constitute an alteration
       to a Closing Store.

 10.   The Debtors shall keep Closing Store premises and surrounding areas clear and orderly
       consistent with present practices.

 11.   The Debtors (and the Consultants, if applicable) and the landlord of any Store are
       authorized to enter into Side Letters without further order of the Court, provided that such
       agreements do not have a material adverse effect on the Debtors or their estates.

 12.   The Debtors and the Consultants may advertise the sale of owned Non-Prescription Assets
       in a manner consistent with these Sale Guidelines. The purchasers of any owned
       Non-Prescription Assets sold during the sale shall be permitted to remove the owned
       Non-Prescription Assets either through the back or alternative shipping areas at any time,
       or through other areas after applicable business hours, provided, however, that the
       foregoing shall not apply to de minimis sales of Non-Prescription Assets made whereby
       the item can be carried out of the Closing Store in a shopping bag. For the avoidance of
       doubt, as of the Termination Date, the Debtors (and the Consultants, if applicable) may
       abandon, in place and without further responsibility, any Non-Prescription Assets.
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 13.   At the conclusion of the Sales at each Closing Store, pending assumption or rejection of
       applicable leases, the landlords of the Closing Stores shall have reasonable access to the
       Closing Stores’ premises as set forth in the applicable leases. The Debtors and their agents
       and representatives shall continue to have access to the Closing Stores pending assumption
       or rejection of applicable leases.

 14.   The rights of landlords against Debtors for any damages to a Closing Store shall be reserved
       in accordance with the provisions of the applicable lease.

 15.   The Debtors are authorized to conduct and consummate sales and internal transfers of
       Prescription Assets consistent with their historical practices, in accordance with applicable law.

 16.   Notwithstanding anything to the contrary in these Sale Guidelines, (a) the
       Consulting Agreement shall control in all respects whether or to what extent the
       Consultants are authorized to act or engage in any conduct in respect of the Sales and the
       Closing Stores and (b) these Sale Guidelines do not authorize the Consultants to take any
       action or engage in any conduct that the Consultants are not authorized to take or engage
       in under the Consulting Agreement; provided, however, the foregoing shall not operate to
       limit the rights of the DIP Agents granted pursuant to paragraph 40 of the Order
       (or the obligations of the Consultants to comply with any direction given pursuant to
       paragraph 40 of the Order).

 17.   If and to the extent that the landlord of any Closing Store affected hereby contends that the
       Debtors or the Consultants are in breach of or default under these Sale Guidelines, such
       landlord shall email or deliver written notice by overnight delivery on the Debtors and the
       Consultants as follows:

               Debtors:

               Rite Aid Corporation
               1200 Intrepid Avenue, 2nd Floor
               Philadelphia, PA 19112
               Attention: Chief Legal Officer

               with copies (which shall not constitute notice) to:

               COLE SCHOTZ P.C.
               Court Plaza North, 25 Main Street
               Hackensack, NJ 07601
               Attention:    Michael D. Sirota, Esq.
                             Warren A. Usatine, Esq.
                             Felice R. Yudkin, Esq.
                             Seth Van Aalten
               Email:        msirota@coleschotz.com
                             wusatine@coleschotz.com
                             fyudkin@coleschotz.com
                             svanaalten@coleschotz.com
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            - and -

            Kirkland & Ellis LLP
            601 Lexington Avenue
            New York, NY 10022
            Attention:    Joshua A. Sussberg, P.C.
                          Aparna Yenamandra, P.C.
                          Ross J. Fiedler
                          Zachary R. Manning
            Email:        joshua.sussberg@kirkland.com
                          aparna.yenamandra@kirkland.com
                          ross.fiedler@kirkland.com
                          zach.manning@kirkland.com

            Consultants:

            SB360 Capital Partners, LLC
            75 Second Avenue
            Needham, MA 02494
            Attention:    Aaron S. Miller
                          Robert Raskin
            Email:        amiller@sb360.com
                          rraskin@sb360.com

            - and -

            Hilco Merchant Resources, LLC
            5 Revere Drive, Suite 206
            Northbrook, IL 60062
            Attention:    Ian Fredericks, President
            Email:        ifredericks@hilcoglobal.com

            with copies (which shall not constitute notice) to:

            Leichtman Law PLLC
            185 Madison Avenue, 15th Floor
            New York, NY 10016
            Attention:   Maura I. Russell
            Email:       mrussell@leichtmanlaw.com

            - and -

            Lowenstein Sandler LLP
            One Lowenstein Parkway
            Roseland, NJ 07068
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            Attention:    Jeffrey Cohen
                          Andrew Behlmann
            Email:        jcohen@lowenstein.com;
                          abehlmann@lowenstein.com
